                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

STATE OF NEW YORK, et al.,

              Plaintiffs,
                                                  No. 20 Civ. 5770 (JMF)
                      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

              Defendants.


NEW YORK IMMIGRATION
COALITION, et al.,

              Plaintiffs,                         No. 20 Civ. 5781 (JMF)

                      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

              Defendants.



MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
  AND IN OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY
             JUDGMENT OR PRELIMINARY INJUNCTION
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                                         INTRODUCTION

        Plaintiffs—a group of states and localities (“Government Plaintiffs”) and a group of non-

profit organizations (“NGO Plaintiffs”)—bring constitutional and statutory challenges to a

memorandum that the President issued on July 21, 2020, entitled Excluding Illegal Aliens From the

Apportionment Base Following the 2020 Census (the “Presidential Memorandum” or

“Memorandum”), 85 Fed. Reg. 44,679 (July 23, 2020). That Memorandum provides that for purposes

of reapportionment of Representatives in Congress following the 2020 census, “it is the policy of the

United States to exclude” illegal aliens from the apportionment base “to the extent feasible and to the

maximum extent of the President’s discretion under the law.” Id. at 44,680. It directs the Secretary

of Commerce to submit to the President two tabulations in connection with the apportionment—one

tabulation includes an enumeration according to the methodology set forth in the Final 2020 Census

Residence Criteria and Residence Situations, 83 Fed. Reg. 5,525 (Feb. 8, 2018) (“Residence Criteria”),

and the second, “to the extent practicable,” requires the Secretary to provide information permitting

the President to exclude illegal aliens from the apportionment base. Because Plaintiffs’ various

challenges to this Memorandum fail as a matter of law, they should be dismissed.

        As a threshold matter, this Court lacks subject-matter jurisdiction over Plaintiffs’ claims both

because the claims are not ripe and because Plaintiffs lack standing to challenge the Presidential

Memorandum. Plaintiffs’ alleged injuries, including lost representation in Congress, decreased federal
funding, and diversion of resources, are speculative. At this point it is unknown what numbers the

Secretary of Commerce will provide the President. Accordingly, any allegation as to the impact of the

President’s apportionment decision on matters such as congressional representation or federal funding

is wholly theoretical and legally insufficient to meet the ripeness and standing requirements.

        Plaintiffs’ allegations that the Presidential Memorandum will have a significant chilling effect

on immigrant communities’ participation in the census likewise are speculative and conclusory. They

are also based on hearsay. Plaintiffs rely on affidavits from fact and expert witnesses that contain only

generalized, second- or third-hand accounts of alleged harm and unsubstantiated conjectures. The
Court should therefore dismiss all of Plaintiffs’ claims pursuant to Rule 12(b)(1) for lack of ripeness

and standing.

        In addition to these jurisdictional defects, Plaintiffs’ claims are subject to dismissal for failure

to state a claim pursuant to Rule 12(b)(6). Plaintiffs assert that the Presidential Memorandum violates

the Administrative Procedure Act (“APA”), the constitutional separation of powers, the Tenth

Amendment, principles of equal protection under the Fifth and Fourteenth Amendments, the

Apportionment Clauses of Article I and the Fourteenth Amendment, 13 U.S.C. § 141, and 2 U.S.C.

§ 2a. Each of these claims fails as a matter of law.

        First, there is no viable basis for APA review of the Presidential Memorandum—both because

the President is not an “agency” under the APA and because Plaintiffs fail to allege any “final agency

action” by the Secretary of Commerce. Second, to the extent the NGO Plaintiffs allege that the

Presidential Memorandum contravenes the separation of powers, that claim fails because the Supreme

Court in Franklin v. Massachusetts expressly recognized the broad scope of congressional delegation of

authority to the President in relation to apportionment. 505 U.S. 788, 799 (1992). Third, the claim

that the Presidential Memorandum amounts to “coercion” or “punish[ment]” in violation of the Tenth

Amendment must be dismissed because Plaintiffs have offered only conclusory allegations as to the

Memorandum’s supposedly invidious purpose and have not alleged any commandeering of state

resources.   Fourth, Plaintiffs’ equal protection claims fail because they rely on misleading
characterizations of the Presidential Memorandum and because Plaintiffs fail to plausibly allege

“animus” or “discriminatory intent.” Fifth, Plaintiffs’ claims under the Apportionment Clauses, 13

U.S.C. § 141, and 2 U.S.C. § 2a, are legally deficient, because they are inconsistent with the Executive

Branch’s longstanding discretion to define who qualifies as “inhabitants” (or “persons in each State”)

for purposes of apportionment. Finally, insofar as Plaintiffs seek an injunction against the President,

such relief is precluded by Supreme Court precedents barring judicial intrusion on the President’s

exercise of policy-making discretion.

        For the same reasons that their Complaints must be dismissed, Plaintiffs are not entitled to
either partial summary judgment or a preliminary injunction. Plaintiffs cannot succeed on their claims



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both because of threshold jurisdictional flaws, but also because their claims are meritless. And even

if Plaintiffs had standing to bring these actions, which they do not, they have failed to plausibly assert

a threat of imminent irreparable harm from the Memorandum. Accordingly, if the Court declines to

grant Defendants’ Motion to Dismiss, it should deny Plaintiffs’ Motion for Partial Summary Judgment

or Preliminary Injunction.

                                           BACKGROUND

I.      The Census and Apportionment Generally

        The Constitution provides that “Representatives shall be apportioned among the several States

according to their respective numbers, counting the whole number of persons in each State.” U.S.

Const. amend. XIV, § 2. To make apportionment possible, the Constitution requires that the federal

government conduct a census every ten years in such a manner as directed by Congress. Id. art. I, §

2, cl. 3. Each State’s number of Representatives, together with its two Senators, also determines the

number of electors for President and Vice President in the Electoral College. See id. art. II, § 1, cl. 2.

        Congress, in turn, has by law directed the Secretary of Commerce to conduct a census of the

“total population” every 10 years “in such form and content as he may determine.” 13 U.S.C. § 141(a)

and (b).     The Census Bureau assists the Secretary of Commerce in the performance of this

responsibility. See 13 U.S.C. §§ 2, 4. For purposes of the 2020 census, the Census Bureau has

announced that field data collection will end on September 30, 2020. See August 3, 2020, Statement
from U.S. Census Bureau Director Steven Dillingham (“Director Dillingham”): Delivering a Complete

and        Accurate     2020      Census       Count,       https://www.census.gov/newsroom/press-

releases/2020/delivering-complete-accurate-count.html.        According to Director Dillingham, the

Census Bureau will take various actions, such as increasing training and providing awards to census

takers who maximize the hours worked, to “improve the speed of [the] count without sacrificing

completeness.” Id. The Census Bureau “intends to meet a similar level of household responses as

collected in prior censuses, including outreach to hard-to-count communities.” Id.

        The Census Bureau has promulgated criteria to count most people for census purposes “at
their usual residence, which is the place where they live and sleep most of the time.” Residence



                                                    3
Criteria, 83 Fed. Reg. at 5,533. Following completion of the 2020 census, by December 31, 2020, the

Secretary of Commerce must submit to the President “[t]he tabulation of total population by States .

. . as required for the apportionment of Representatives in Congress among the several States.” 13

U.S.C. § 141(b). “On the first day, or within one week thereafter, of the first regular session of the

[117th Congress],” the President must “transmit to the Congress a statement showing the whole

number of persons in each State . . . and the number of Representatives to which each State would be

entitled . . . by the method known as equal proportions.” 2 U.S.C. § 2a(a).

II.      The July 21, 2020, Presidential Memorandum

         On July 21, 2020, the President issued a Memorandum to the Secretary of Commerce

regarding the exclusion of illegal aliens from the apportionment base following the 2020 census. See

85 Fed. Reg. at 44,679-81. The Presidential Memorandum states that “it is the policy of the United

States to exclude” such aliens from the apportionment base “to the extent feasible and to the

maximum extent of the President’s discretion under the law.” Id. at 44,680. The Presidential

Memorandum directs the Secretary of Commerce to submit to the President two tabulations. One is

an enumeration “tabulated according to the methodology set forth in” the Residence Criteria. Id. The

second calls for “information permitting the President, to the extent practicable,” to carry out the

stated policy, i.e., an apportionment excluding illegal aliens. Id.

         To date, the Census Bureau is still evaluating the usability of administrative records pertaining
to citizenship status in connection with the decennial census, see Exec. Order 13880, 84 Fed. Reg.

33,821-25 (July 16, 2019), and formulating a methodology for potentially excluding illegal aliens. See

August          3,        2020,         Dillingham          Statement,        https://www.census.gov/

newsroom/press-releases/2020/delivering-complete-accurate-count.html (“The Census Bureau

continues its work on meeting the requirements of Executive Order 13,880 issued July 11, 2019 and

the Presidential Memorandum issued July 21, 2020. A team of experts [is] examining methodologies

and options to be employed for this purpose. The collection and use of pertinent administrative data

continues.”).




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III.   Plaintiffs’ Challenge

       On July 24, 2020, the Government Plaintiffs and NGO Plaintiffs filed complaints challenging

the Presidential Memorandum; they amended their complaints on August 3 and August 6, respectively.

See ECF Nos. 34 (“Gov’t Pls.’ Am. Compl.”), 62 (“NGO Pls.’ Am. Compl.”). Plaintiffs allege, among

other things, that the Presidential Memorandum violates requirements contained in Article I, the

Fourteenth Amendment, 13 U.S.C. § 141, and 2 U.S.C. § 2a to base apportionment on the “whole

number of persons in each State”; the Fifth and Fourteenth Amendment’s Due Process Clause’s

prohibition against unlawful discrimination; the Tenth Amendment by punishing states that refuse to

assist in enforcement of federal immigration law; the Administrative Procedure Act (“APA”), 5 U.S.C.

§ 706; separation of powers; and 13 U.S.C. §§ 141 and 195 with respect to the use of statistical

sampling. Gov’t Pls.’ Am. Compl. ¶¶ 4-5, 142-74; NGO Pls.’ Am. Compl. ¶¶ 1, 8, 11, 182-262.

       Plaintiffs further allege that if the President excludes illegal aliens from the apportionment

base, some Plaintiffs will be injured by losing one or more Representatives (and corresponding electors

in the Electoral College), undermining their ability to conduct congressional and state-level

redistricting, depriving them of federal funding, and degrading the quality of the census data on which

Plaintiffs rely to perform government functions; the NGO Plaintiffs further allege loss of political

power and diversion of resources to census outreach efforts “to combat fear and disinformation

resulting from the Presidential Memorandum.” Gov’t Pls.’ Am. Compl. ¶¶ 6, 117-127, 135-36; NGO
Pls.’ Am. Compl. ¶¶ 8, 21-83, 161-69. Plaintiffs assert that the Presidential Memorandum will reduce

the number of aliens who participate in the census by making them think that their responses are less

valuable and causing “fears . . . that their data will not be safe.” Gov’t Pls.’ Am. Compl. ¶¶ 130, 132-

34; NGO Pls.’ Am. Compl. ¶¶ 9, 170-74. Plaintiffs seek declaratory and injunctive relief. Gov’t Pls.’

Am. Compl. ¶¶ 7 & Prayer for Relief ¶¶ 1-9; NGO Pls.’ Am. Compl. Request for Relief ¶¶ i-ix.

       In support of their motion for partial summary judgment or a preliminary injunction (ECF

No. 77), Plaintiffs submitted a declaration from Matthew Colangelo, an attorney representing the State

of New York, which attached over 900 pages of documents, including three expert declarations and
51 fact witness declarations (ECF No. 76, “Colangelo Decl.”). The expert reports come from (1)



                                                   5
Mathew A. Barreto, Ph.D., a political science professor, Colangelo Decl. Ex. 56 (“Barreto Decl.”); (2)

John Thompson, a former Director of the Census Bureau, Colangelo Decl. Ex. 57 (“Thompson

Decl.”); and (3) Christopher Warshaw, Ph.D., an assistant professor of political science, Colangelo

Decl. Ex. 58. The 51 fact declarations, from various state and local governmental and non-

governmental sources, forecast purported injuries that the Presidential Memorandum could inflict on

aliens’ participation in the remaining portion of the 2020 census. Colangelo Decl. Exs. 1-51.

                                               ARGUMENT

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted

as true, to state a claim to relief that is plausible on its face.” Allco Fin. Ltd. v. Klee, 861 F.3d 82, 94 (2d

Cir. 2017) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). Plaintiffs fail this straightforward

standard, so summary judgment should be denied and this case should be dismissed.

I.      The Court Lacks Jurisdiction Because Plaintiffs’ Claims Are Unripe

        “To be justiciable, a cause of action must be ripe—it must present ‘a real, substantial

controversy, not a mere hypothetical question.’ . . . . A claim is not ripe if it depends upon ‘contingent

future events that may not occur as anticipated, or indeed may not occur at all.’” Nat’l Org. for Marriage,

Inc. v. Walsh, 714 F.3d 682, 687 (2d Cir. 2013); see also Texas v. United States, 523 U.S. 296, 300 (1998).

Ripeness incorporates both a constitutional requirement and a prudential requirement. See Stolt-Nielsen

S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 670 n.2 (2010); Nat’l Park Hosp. Ass’n v. Dep’t of Interior,
538 U.S. 803, 808 (2003). The ripeness doctrine “is designed ‘to prevent the courts, through avoidance

of premature adjudication, from entangling themselves in abstract disagreements over administrative

policies, and also to protect the agencies from judicial interference until an administrative decision has

been formalized and its effects felt in a concrete way by the challenging parties.’” Ohio Forestry Ass’n,

Inc. v. Sierra Club, 523 U.S. 726, 732-33 (1998) (quoting Abbott Laboratories, 387 U.S. at 148-49).

        The constitutional requirement “overlaps with the standing doctrine, ‘most notably in the

shared requirement that the plaintiff’s injury be imminent rather than conjectural or hypothetical.’” In

re Methyl Tertiary Butyl Ether (MTBE) Prods. Liab. Litig., 725 F.3d 65, 110 (2d Cir. 2013) (quoting Ross v.
Bank of Am., NA., 524 F.3d 217, 226 (2d Cir. 2008)). Under the ripeness doctrine, the Court also



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considers: “(1) whether delayed review would cause hardship to the plaintiffs; (2) whether judicial

intervention would inappropriately interfere with further administrative action; and (3) whether the

courts would benefit from further factual development of the issues presented.” Ohio Forestry Ass’n,

Inc., 523 U.S. at 733; see also Nat’l Org. for Marriage, 714 F.3d at 691 (“To determine whether to abstain

from a case on prudential ripeness grounds, we proceed with a two-step inquiry, requiring us to

evaluate both the fitness of the issues for judicial decision and the hardship to the parties of

withholding court consideration.” (citation and internal quotation marks omitted)).

        Here, Plaintiffs’ claims do not meet the constitutional requirement for ripeness because the

claims are, at bottom, about apportionment, rather than census procedures—and any alleged

apportionment injury that States may, or may not, suffer is at this point “conjectural or hypothetical”

rather than “imminent.”

        A.      It Is Currently Unknown What Numbers the Secretary May Report to the
                President
        The Presidential Memorandum states that “it is the policy of the United States to exclude”

illegal aliens from the apportionment base “to the extent feasible and to the maximum extent of the

President’s discretion under the law.” 85 Fed. Reg. at 44,680 (emphasis added). It directs the Secretary

of Commerce to provide two sets of numbers—one tabulated “according to the methodology set

forth in” the Residence Criteria for counting everyone at their usual residence, and a second

“permitting the President, to the extent practicable,” to carry out the stated policy of excluding illegal

aliens from the apportionment base. Id. at 44,680 (emphasis added).

        The extent to which it will be feasible for the Census Bureau to provide the Secretary of

Commerce a second tabulation is, at this point, unknown. See Decl. of Dr. John M. Abowd ¶ 15. As

Director Dillingham recently publicly stated, the Census Bureau is still evaluating the usability of

administrative records pertaining to citizenship status in connection with the decennial census and

formulating a methodology for potentially excluding illegal aliens. See August 3, 2020, Statement from

Director      Steven       Dillingham,       available     https://www.census.gov/newsroom/press-
releases/2020/delivering-complete-accurate-count.html.        Indeed, Plaintiffs themselves repeatedly



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allege that the Census Bureau is currently unable to comply with the Presidential Memorandum’s

directive for an enumeration excluding illegal aliens. See, e.g., NGO Pls.’ Am. Compl. ¶ 176 (“The

Census Bureau . . . does not currently have a means to individually enumerate undocumented

immigrants separate and apart from the rest of the population in each jurisdiction.”); Gov’t Pls.’ Am.

Compl. Sec. VI & ¶ 137 (“Defendants have not identified any reliable method to accurately enumerate

the population of undocumented immigrants,” noting that “[j]ust months ago, the Federal

Government represented . . . that there is a ‘lack of accurate estimates of the resident undocumented

population’ on a state-by-state basis.”), ¶ 138 (administrative records do not provide accurate

information about the number of undocumented immigrants), ¶ 140 (“[T]he Census Bureau has not

yet ‘formulated a methodology’ to estimate the undocumented population”); see also generally Gov’t Pls.’

Am. Compl. Sec. ¶¶ 137-41 & NGO Pls.’ Am. Compl. ¶¶ 175-79 (containing similar allegations and

citing statements by the federal government in support).1

        Because it is not known what the Secretary may ultimately transmit to the President, it is

necessarily not yet known whether the President will be able to exclude some or all illegal aliens from

the apportionment base. As a result, Plaintiffs’ apportionment claims are unripe as they depend upon

“‘contingent future events that may not occur as anticipated, or indeed may not occur at all.’” See

Nat’l Org. for Marriage, Inc., 714 F.3d at 687. Put simply, until the Census Bureau and Secretary of

Commerce transmit the information specified in the Presidential Memorandum, and until the
President acts on the information, any claim of apportionment injury is speculative.

        B.      Other Considerations Underscore that Plaintiffs’ Claims Are Not Ripe

        Given that the effects of the Presidential Memorandum and any apportionment injuries to

Plaintiffs are at this point unknown, other considerations, such as the hardship to the parties and the

fitness of the issues for judicial consideration, also counsel against the Court’s exercise of jurisdiction.

1
 The specific claim brought by the NGO Plaintiffs pursuant to 13 U.S.C. §§ 141, 195—alleging that
the Census Bureau will impermissibly rely on sampling to enumerate the illegal alien population (NGO
Pls.’ Am. Compl. ¶¶ 251-62)—is similarly unripe because it is conjectural and hypothetical. Plaintiffs
have provided nothing other than speculation that the Census Bureau will rely on sampling. Gov’t
Pls.’ Am. Compl. Sec. ¶¶ 137-41; NGO Pls.’ Am. Compl. ¶¶ 175-79.




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Nat’l Org. for Marriage, Inc., 714 F.3d at 691. For example, given the above-discussed uncertainties with

respect to the effects of the Presidential Memorandum, delayed review would not cause undue

hardship to Plaintiffs. See, e.g., Ohio Forestry Ass’n, 523 U.S. at 733-34 (challenge to agency action unripe

where there is no “significant practical harm” at the present time because a number of future actions

would need to occur to make the harm more “imminent” and “certain”); Texas, 523 U.S. at 300, 302

(claim unripe where a number of actions would need to occur to cause the alleged harm, rendering it

“too speculative whether the problem . . . will ever need solving”); Simmonds v. INS, 326 F.3d 351, 360

(2d Cir. 2003) (“The mere possibility of future injury, unless it is the cause of some present detriment,

does not constitute hardship.”). Further, judicial review would improperly interfere with the census,

which is currently in progress, and could impede the apportionment, which has not yet occurred. See,

e.g., Ohio Forestry Ass’n, Inc., 523 U.S. at 735 (action unripe where judicial review “could hinder agency

efforts to refine its policies”). Finally, the Court would benefit from further real-world factual

development. See, e.g., id. at 736 (action was unripe where it would require court to engage in “time-

consuming judicial consideration . . . of an elaborate, technically based plan, which predicts

consequences that may affect many different parcels of land in a variety of ways,” involved issues that

could change in the future, and “depending upon the agency’s future actions . . . review now may turn

out to have been unnecessary”). The actual tabulations that are called for by the Memorandum must

be reported by no later than the end of this year, assuming the statutory deadlines in § 141 and § 2a
are not extended by Congress.

        Perhaps unsurprisingly, census and apportionment cases generally are decided post-

apportionment, when census enumeration procedures are no longer at issue and the actual

apportionment figures are known. See, e.g., Franklin v. Massachusetts, 505 U.S. 788, 79-91 (1992)

(challenging allocation of Department of Defense’s overseas employees to particular states following

census); Dep’t of Commerce v. Montana, 503 U.S. at 445-46 (challenging method of equal proportions to

determine representatives); Utah v. Evans, 536 U.S. 452, 458-59 (2002) (challenging sampling method

known as “hot-deck imputation” used by Census Bureau after analyzing census figures); Wisconsin v.
City of New York, 517 U.S. 1, 4 (1996) (challenging decision not to use particular statistical adjustment



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to correct an undercount).        Here, Plaintiffs are not challenging the enumeration procedures

themselves, but only the hypothetical apportionment that might result from actions that might be

taken pursuant to the Presidential Memorandum. See, e.g., Gov’t Pls.’ Am. Compl. ¶¶ 142-46; NGO

Pls.’ Am. Compl. ¶¶ 184-93. Consistent with this long line of Supreme Court precedent, such a

challenge should await the actual apportionment.

II.     This Court Lacks Jurisdiction Because Plaintiffs Lack Standing

        For similar reasons, Plaintiffs lack standing to pursue their claims. The doctrine of standing

requires a plaintiff to establish three elements: (1) a concrete and particularized injury-in-fact, either

actual or imminent; (2) a causal connection between the injury and defendants’ challenged conduct,

such that the injury is “fairly traceable to the challenged action of the defendant”; and (3) a likelihood

that the injury suffered will be redressed by a favorable decision. Defs. of Wildlife, 504 U.S. at 560-61.

The standing inquiry is “‘especially rigorous when reaching the merits of the dispute would force [the

court] to decide whether an action taken by one of the other two branches of the Federal Government

was unconstitutional.’” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013) (quoting Raines v. Byrd,

521 U.S. 811, 819-20 (1997)). Plaintiffs bear the burden of establishing the required elements of

standing. Defs. of Wildlife, 504 U.S. at 561. “At the pleading stage, general factual allegations of injury

resulting from the defendant’s conduct may suffice,” id., but “a plaintiff cannot rely solely on

conclusory allegations of injury.” Baur v. Veneman, 352 F.3d 625, 637 (2d Cir. 2003). Here, none of
the injuries Plaintiffs allege satisfy these requirements.


        A.      Plaintiffs’ Alleged Apportionment Injuries Are Too Speculative to Confer
                Standing
        The standing requirement of “injury in fact” requires an allegation that “the plaintiff ‘has

sustained or is immediately in danger of sustaining a direct injury’” as a result of the challenged action.

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1552 (2016) (citations omitted). The injury or threat of injury

must be “concrete and particularized” and “actual or imminent, not ‘conjectural’ or ‘hypothetical.”
Defs. of Wildlife, 504 U.S. at 560. Thus, an alleged future injury must be “‘certainly impending,’ or there




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is a ‘substantial risk’ that the harm will occur.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158

(2014) (quoting Clapper, 568 U.S. at 409 n.5). “‘Allegations of possible future injury’ are not sufficient.”

Clapper, 568 U.S. at 409 (quoting Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)). As discussed above,

see supra at 7-10, Plaintiffs’ alleged apportionment injuries are speculative and conclusory, and at this

point in time, there is no “substantial risk” that harm will occur. See Susan B. Anthony List, 573 U.S. at

158.   In fact, Plaintiffs’ own allegations that the Census Bureau has not yet “formulated a

methodology” for excluding all illegal aliens contradicts their alleged harm. See supra at 8. Therefore,

any injury to Plaintiffs—be it in the form of loss of a Representative, loss of funding, or otherwise—

is conjectural or hypothetical. Defs. of Wildlife, 504 U.S. at 560.

        B.       Plaintiffs’ Allegations That the Presidential Memorandum Will Reduce
                 Participation in the 2020 Census Are Also Speculative, Not Traceable to the
                 Memorandum, and Not Redressable by a Favorable Ruling
        Plaintiffs alternatively allege that they will suffer injury because the Presidential Memorandum

will purportedly reduce the number of aliens who participate in the census by making them think that

their responses are less valuable and causing “fears . . . that their data will not be safe,” thereby affecting

the distribution of federal funds and degrading the quality of census data. Gov’t Pls.’ Am. Compl. ¶¶

130, 132-36; NGO Pls.’ Am. Compl. ¶¶ 9, 170-74. However, these alleged injuries are far too

speculative to establish standing. In addition, those injuries are neither traceable to the Memorandum

nor redressable by a favorable ruling from this Court.




                                                      11
                         1.      Plaintiffs’ Alleged Enumeration Injuries Are Too Speculative to
                                 Confer Standing
        As this Court noted in requesting the appointment of a three-judge panel pursuant to 28 U.S.C.

§ 2284, “the Presidential Memorandum does not purport to change the conduct of the census itself[;]

[i]nstead, it relates to the calculation of the apportionment base used to determine the number of

representatives to which each state is entitled.” ECF No. 68 at 2. There is, facially, no reason why

such a Memorandum should have any effect on census response rates. To the contrary, as explained

by the Census Bureau’s Associate Director for Decennial Census Programs, Albert E. Fontenot, Jr.,

the Census Bureau’s enumeration is almost complete, and the Memorandum does not affect how the

Census Bureau is conducting its remaining enumeration operations or “the Census Bureau’s

commitment to count each person in their usual place of residence.” Decl. of Albert E. Fontenot, Jr.

¶¶ 7, 12. And although Plaintiffs submit a variety of declarations to purportedly bolster their claims

that the Memorandum has a chilling effect on respondents,2 those declarations are impermissibly

conjectural, conclusory, and hearsay.

        For example, Dr. Barreto’s declaration provides an opinion regarding the so-called “chilling

effect” of the Memorandum on individuals’ participation in the 2020 Census that is based on multiple

levels of conjecture. Dr. Barreto cites several Spanish-language news sources as providing hearsay

statements that activists and organizations are concerned about the Memorandum causing fear in

Hispanic and immigrant communities; that several studies have found that immigrant communities
will rely on Spanish-language news sources; and that various studies, many of them from decades ago,

suggest that response rates are affected by the overall socio-political environment. Barreto Decl. ¶¶

15-16, 32-38. This “evidence” is insufficient to support Plaintiffs’ allegations that the Memorandum

will significantly reduce the number of aliens who participate in the census so as to materially affect

2
   A court “‘may consider affidavits and other materials beyond the pleadings to resolve the
jurisdictional issue, but [the Court] may not rely on conclusory or hearsay statements contained in the
affidavits.’” New York v. Dep’t of Commerce, 315 F. Supp. 3d 766, 780 (S.D.N.Y. 2018) (Furman, J.)
(alteration in original) (quoting J.S. ex rel. N.S. v. Attica Cent. Schs., 386 F.3d 107, 110 (2d Cir. 2004));
see also Broidy Capital Mgmt., LLC v. Benomar, 944 F.3d 436, 441 (2d Cir. 2019) (“The district court can
refer to evidence outside the pleadings when resolving a motion to dismiss under Federal Rule of Civil
Procedure 12(b)(1).”



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federal funding and degrade the quality of census data. Although Dr. Barreto discusses studies

reflecting concerns among aliens about citizenship information in the census generally and a

citizenship question on the census specifically (see, e.g., Barreto Decl. ¶¶ 24-25, 54-55, 61, 68), this is

far attenuated from the issues in this case, which involves the Presidential Memorandum. This case

does not involve a citizenship question on the census questionnaire or a change to the Census Bureau’s

enumeration under the Residence Criteria.

         Tellingly, Dr. Barreto cites no study actually addressing the Presidential Memorandum’s effect

on the 2020 Census. And Dr. Barreto’s discussion of citizenship-question studies is grounded in

inaccuracies. Notably, Dr. Barreto fails to address, or even acknowledge, the shortcomings that this

Court identified in the very study Dr. Barreto now cites for the proposition that the placement of a

citizenship question on a census questionnaire would depress response rates. Compare Barreto Decl.

¶ 68 with New York v. Department of Commerce, 351 F. Supp. 3d 502, 581 n.36 (S.D.N.Y. 2019) (noting

that the Court would place “only limited weight on Dr. Barreto’s study” because it had a flawed design,

and did not weigh the resulting data “to match the population totals”).

         Further, Dr. Barreto fails to consider the results of the randomized controlled trial published

by the Census Bureau after the Supreme Court issued its opinion in the citizenship question litigation,

which found no statistically-significant depression of response rates for households that received a test

questionnaire containing a citizenship question. See Abowd Decl. ¶ 13; see also 2019 Census Test Report,
Census         Bureau         (Jan.        3,       2020),        https://www2.census.gov/programs-

surveys/decennial/2020/program-management/census-tests/2019/2019-census-test-report.pdf

(Census Test Report). That study contained a sample of 480,000 housing units, and was “capable of

detecting response differences as small as 0.5 percentage points.” See Abowd Decl. ¶ 13. Overall,

“[t]he test questionnaire with the citizenship question had a self-response rate of 51.5 percent; [while]

the test questionnaire without the citizenship question had a self-response rate of 52.0 percent.”

Census Test Report at ix. And while some narrow subgroups exhibited statistically-significant lower

self-response rates, id. at x, the Census Bureau concluded that “[c]urrent plans for staffing for
Nonresponse Followup would have sufficiently accounted for subgroup differences seen in this test.”



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Id. See generally Abowd Decl. ¶ 13. As Dr. Abowd reports, this new finding illustrates the benefit of a

“randomized controlled design,” which properly isolates the independent variable (there, the

citizenship question) and measures its effects. Abowd Decl. ¶ 13.

        Mr. Thompson’s expert declaration—expressing the subjective opinion that he is “extremely

concerned” that the Presidential Memorandum will significantly increase the risk of undercounting

immigrant communities—also cannot establish standing.            Mr. Thompson’s citation of studies

conducted in planning for the 2020 Census that generally indicate immigrants’ fear of the government

and their concern about responses being used against them, and a 2018 study that he claims supports

that a citizenship question would reduce response rates, again, have little bearing on this case. Despite

discussing these studies, Mr. Thompson’s declaration likewise does not address the June 2019

randomized controlled trial showing no statistically significant difference in response rates with and

without a citizenship question. See Abowd Decl. ¶ 13. Nor do the studies Mr. Thompson cites—

which have nothing to do with the Presidential Memorandum—support a significant chilling effect

from the Presidential Memorandum.

        Likewise, the statements contained in various fact witness declarations that the Presidential

Memorandum will have a chilling effect on participation of immigrants in the 2020 census also offer

nothing more than speculative, conclusory statements and hearsay. For example, many of the

declarations provide no support whatsoever for their assertions. See, e.g., Colangelo Decl. Exs. 9 ¶ 9-
12; Ex. 11 ¶ 11; Ex. 12 ¶ 8-9; Ex. 16 ¶¶ 8-12; Ex. 22 ¶ 8; Ex. 26 ¶¶ 11-13; Ex. 33 ¶¶ 7-8; Ex. 38 ¶¶ 7-

9; Ex. 41 ¶¶ 8-12; Ex. 47 ¶¶ 2, 13, 20. Other declarations vaguely reference that they heard from

“community partners,” “Census advocates,” and the like that the Presidential Memorandum was

decreasing participation among immigrants. See, e.g., Colangelo Decl. Exs. 1 ¶ 10; Ex. 4 ¶¶ 8-9; Ex. 5

¶ 5; Ex. 10 ¶ 6; Ex. 14 ¶¶ 15-19; Ex. 30 ¶¶ 9-10; Ex. 35 ¶¶ 5-7; Ex. 36 ¶¶ 10-14; Ex. 42 ¶¶ 5, 7; Ex. 43

¶¶ 12-16; Ex. 44 ¶¶ 13, 17, 21-22; Ex. 51 ¶ 7. Very few of these declarations provide any examples to

support their allegations, and the few that do, are vague and based on hearsay. See, e.g., Colangelo

Decl. Exs. 17 ¶¶ 6-9; Ex. 18 ¶¶ 10-13; Ex. 34 ¶¶ 8-10; Ex. 45 ¶¶ 11-12. They certainly do not provide
sufficient support that the Presidential Memorandum would have an appreciable effect on the



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participation of illegal aliens in the remaining months of the 2020 census—for which field operations

are to be completed by September 30, 2020.

        Simply put, Plaintiffs’ alleged injuries all depend on (i) the assumption that a significant

percentage of illegal aliens who otherwise would have participated in the census will be deterred from

doing so despite outreach by the Census Bureau, and that (ii) the belief this lack of participation will

materially degrade the census data which will (iii) result in an appreciable effect on apportionment,

redistricting, and funding. Plaintiffs fail to allege sufficient facts that the above sequence of events

will occur with any likelihood. See supra at 12-14.

                        2.      The Alleged Chilling Effect Is Not Traceable to the
                                Memorandum
        Separate from the question of injury, the materials submitted by Plaintiffs fail to show that any

diminution in census response rates is fairly traceable to the Memorandum. Steel Co. v. Citizens for a

Better Env’t, 523 U.S. 83, 03 (1998) (for plaintiff to establish standing “there must be causation—a

fairly traceable connection between the plaintiff’s injury and the complained-of conduct of the

defendant”). To satisfy the “‘traceability’” or “‘causation’” prong of the Article III standing test,

allegations must provide more than “‘unadorned speculation’” to “‘connect their injury to the

challenged actions.’” CREW v. Trump, 953 F.3d 178, 191 (2d Cir. 2020) (quoting Simon v. Eastern

Kentucky Welf. Rights. Org., 426 U.S. 26, 44-45 (1976)), reh’g en banc denied, 2020 WL 4745067 (Aug. 17,

2020). The allegations of fact must plausibly support a “substantial likelihood” that the plaintiff’s
injury was the consequence of the defendant’s allegedly unlawful actions (and that prospective relief

could mitigate the harm). Id. Where a theory of injury rests on a “highly attenuated chain of

possibilities,” Clapper v. Amnesty Int’l, 568 U.S. 398, 410 (2013), “speculation regarding the future

actions of third parties is not sufficient to establish an imminent injury, Lower East Side People’s Credit

Union v. Trump, 289 F. Supp. 3d 568, 580 (S.D.N.Y 2018); see also Taylor v. Bernanke, No. 13-CV-1013

(ARR), 2013 WL 4811222, at *6 (E.D.N.Y. Sept. 9, 2013) (“Where the occurrence of the future injury

depends on the actions of a third party not included in the plaintiff’s suit, the Supreme Court has
shown particular reluctance to conclude that the ‘imminence’ requirement is met.”); Himber v. Intuit,




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Inc., No. 10-CV-2511 (JFB), 2012 WL 4442796, at *7 (E.D.N.Y. Sept. 25, 2012) (“As the jurisprudence

of the Supreme Court and Second Circuit has clearly articulated, claims of harm based upon

speculation regarding decisions by third parties is insufficient to confer Article III standing.”).

        Here, as noted above, the primary basis for linking the Memorandum to response rates comes

from Plaintiffs’ expert Dr. Barreto. He opines that immigrant communities are less likely to respond

to the census after the Memorandum because (1) immigrant communities’ trust in the government

and willingness to share information was undermined, Barreto Decl. ¶¶ 14, 19, by; (2) third-party

reports featuring “immigrants, as well as individuals who worked with community-based organizations

that serve immigrants, and even journalists, all stat[ing] that they believed the July 21 Memorandum

was an effort to sow confusion and distrust, and to reduce the count of Latinos and immigrants on

the 2020 Census,” Barreto Decl. ¶¶ 33, 15; carried on (3) various media sources, particularly Spanish-

language ones, which are highly influential in the immigrant and Latino communities, Barreto Decl.

¶¶ 16, 32. Dr. Barreto posits this chain as an unbroken line. But the media, and the community

activists they feature, are independent actors; those entities’ messages about the Memorandum are the

product of their own interpretations and views, many of which are at odds with the plain terms of the

Memorandum. See, e.g., Torres Decl. ¶ 18, ECF No. 76.47 (stating that CASA de Maryland, Inc. “was

approached by a number of media outlets, including CNN, to represent the reaction of our community

. . . [and] conveyed how harmful the action is and our commitment to ensuring that our members are
fully counted.”); Barreto Decl. ¶ 33 (listing media messages characterizing the Memorandum as

something “intended to promote fear”).

        It makes little sense for Plaintiffs to attribute whatever harm is caused by those independent

actors to the Memorandum itself, particularly if their messages convey the incorrect impression that

the Memorandum increases the “risk of [individuals’] information being linked to immigration records

and [those individuals] facing immigration enforcement.” Barreto Decl. ¶ 62, Pls.’ Br. at 43 (citing

various declarations speculating that the Memorandum is likely to create fear of immigration

enforcement). Simply put, any contention or concern that the Secretary’s compliance with the
Memorandum will somehow facilitate immigration enforcement is contrary to established statutory



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provisions mandating strict confidentiality for census responses. See generally 13 U.S.C. § 9 (providing

that personal information collected by the Census Bureau cannot be used against respondents by any

government agency or court); id. § 214 (setting forth penalty for wrongful disclosure of information).

Indeed, the Census Bureau devotes resources to educating the public about the privacy and

confidentiality of census responses specifically to allay such fears of adverse use. See, e.g., Data Protection

and Privacy Program, Census Bureau, available at https://www.census.gov/about/policies/privacy.html

(last visited August 17, 2020); Fontenot Decl. ¶ 10. Because nothing in the Memorandum undermines

these statutory protections, it is unreasonable to trace fear of immigration enforcement to the

Memorandum itself, rather than to the messages conveyed by other actors in Plaintiffs’ chain of

causation. See, e.g., Barreto Decl. ¶ 46 (noting that immigrants “may not do the full research to realize

they can still fill out the Census safely, because they hear the news which is connecting the July 21

[Memorandum] to Trump’s longstanding desire to increase deportation of undocumented

immigrants” (emphasis added)); see also supra at 4.

        The presence of such independent sources distinguishes this case from the litigation over the

placement of a citizenship question on the census form, in which both this Court and the Supreme

Court found that the placement of such a question could predictably cause lower self-response rates

among certain communities. Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2566 (2019). That case

presented a situation not found here: namely, the direct collection of information from respondents.
The Memorandum is not itself directed at census respondents and appears, even in Plaintiffs’ telling,

to be filtered to them through third-party intermediary sources. How those sources interpret the

Memorandum should not be dispositive of the Memorandum’s effects. Put another way, the alleged

injuries here depend on “a chain of causation” with multiple “discrete links, each of which ‘rest[s] on

[the plaintiffs’] highly speculative fear that governmental actors” would exercise their “discretion in a

[] way” that would adversely affect Plaintiffs.         See Dep’t of Commerce, 315 F. Supp. 3d at 787

(summarizing Clapper, 568 U.S. at 410-14, and distinguishing citizenship question case from Clapper

partly on this basis). Such a speculative chain of causation is insufficient to establish standing.




                                                      17
                        3.      A Favorable Ruling Would Not Redress Plaintiffs’ Alleged
                                Enumeration Injuries
        Finally, even if Plaintiffs could establish the existence of a “chilling” effect traceable to the

Memorandum, they still fail to establish the last prong of standing: namely, that the effect would be

cured by a favorable ruling from this Court. The redressability requirement “lies at the core of the

standing doctrine” because “[a]n abstract decision without remedial consequence seems merely

advisory, an unnecessary expenditure of judicial resources that burdens the adversary and carries all

the traditional risks of making bad law and trespassing on the provinces of the executive and

legislature.” E.M. v. New York City Dep’t of Educ., 758 F.3d 442, 450 (2d Cir. 2014); see also Hewitt v.

Helms, 482 U.S. 755, 761 (1987). Where a plaintiff requests prospective relief in the form of a

declaratory judgment or injunction, the plaintiff must show that “prospective relief will remove the

harm” and the plaintiff “personally would benefit in a tangible way from the court’s

intervention.” Warth v. Seldin, 422 U.S. 490, 505, 508 (1975). “Relief that does not remedy the injury

suffered cannot bootstrap a plaintiff into federal court; that is the very essence of the redressability

requirement.” Steel Co., 523 U.S. at 107.

        Here, it is entirely speculative that there are enough aliens who, while currently deterred from

participating in the census, would decide to participate if this Court granted Plaintiffs relief. Indeed,

nothing that Plaintiffs have submitted speaks to this issue with any particularity. The closest Plaintiffs

come to attempting this showing is Dr. Barreto’s report discussing research studies from 2018 that
endeavored to predict how the removal of a citizenship question from the census questionnaire would

affect response rates. Barreto Decl. ¶¶ 68–69. But, as noted above, those studies are inconsistent

with the large, and statistically rigorous, study published in 2020 by the Census Bureau, which showed

no statistically-significant diminution of response rates in the first instance. Abowd Decl. ¶¶ 13, 17.

Further, there is no reason to expect the Memorandum, which asks nothing of respondents, to have

a significant effect on response rates—and even less reason to expect that any people deterred from

responding to the census would change their mind if the Memorandum were enjoined, especially since




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the census would conclude long before any such injunction would become final on appeal. See supra

at 4.

        If anything, the declarations proffered by Plaintiffs tend to paint the opposite picture. The

declarations repeatedly lament an alleged “macro environment” of mistrust around immigration.

Thompson Decl. ¶¶ 19–20; see also Barreto Decl. ¶ 46. It is hard to imagine that precluding the

Secretary from complying with a Memorandum that does not implicate immigration enforcement or

change census operations would alter the kind of mistrust that Plaintiffs allege to be in effect currently.

                                                   ***

        The Supreme Court has emphasized that standing is not an “ingenious academic exercise in

the conceivable.” Summers v. Earth Island Institute, 555 U.S. 488, 499 (2009). Plaintiffs cannot “establish

standing simply by claiming that they experienced a ‘chilling effect’ that resulted from a governmental

policy that does not regulate, constrain, or compel any action on their part.” Clapper, 568 U.S. at 419.

Rather, Plaintiffs can establish standing only by shouldering the substantial burden of establishing that

the Court, in a real way, can remedy an injury Plaintiffs have suffered as a result of some action

Defendants took. Id. Because Plaintiffs have failed to make that showing here, their complaint should

be dismissed for lack of subject matter jurisdiction.

III.    Plaintiffs Fail to State a Claim

        Even if the Court concludes that it has subject-matter jurisdiction over Plaintiffs’ claims,
Plaintiffs’ failure to adequately plead any claim serves as an independent additional basis for the Court

to dismiss these consolidated actions.

        A.      Franklin Mandates Dismissal of Plaintiffs’ APA Claims
        Plaintiffs seek APA review of both the President’s policy directives in the Presidential

Memorandum and steps that the Secretary of Commerce may have taken to prepare and transmit a

set of “total population numbers for each state that exclude undocumented immigrants . . . to the

President” in accordance with the Presidential Memorandum. See NGO Pls.’ Am. Compl. ¶¶ 237-250

(asserting APA claim against “Defendants”); Gov’t Pls.’ Am. Compl. ¶¶ 159-163 (same). Their
pleadings, however, challenge conduct by the President that is not subject to review under the APA



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and, in any event, fail to identify any act that satisfies the “final agency action” standard set forth in

Franklin, 505 U.S. at 796-801 (applying the definition of final agency action in 5 U.S.C. § 704 to the

apportionment context); see also State of Cal. v. Dep’t of Justice, 114 F.3d 1222, 1225 (D.C. Cir. 1997)

(“No final administrative action, no judicial review”). Accordingly, Plaintiffs’ APA claims should be

dismissed.3

        First, insofar as Plaintiffs seek review of the President’s action under the APA, the law is clear

that the APA does not provide a basis for such review. In Franklin, for example, the Supreme Court

held that because “the APA does not expressly allow review of the President’s actions,” such “actions

are not subject to [the APA’s] requirements.” 505 U.S. at 800; accord Dalton, v. Specter, 511 U.S. 462,

468 (1994); Lunney v. United States, 319 F.3d 550, 554 (2d Cir. 2003) (recognizing that under Franklin

and Dalton, “the APA does not allow courts to review the President’s actions”). Accordingly,

Plaintiffs’ APA challenges to the Presidential Memorandum should be dismissed under Rule 12(b)(6).

        Second, to the extent that Plaintiffs also seek APA review of a “directive” that they believe

the Secretary of Commerce has given to “the Census Bureau to effectuate the [Memorandum’s] policy

of excluding undocumented immigrants from the census” as well as the report the Secretary of

Commerce is expected to submit to the President in January 2021, see NGO Pls.’ Am. Compl. ¶ 242,

that claim fails as well because there is no final agency action. In Franklin, the Supreme Court directly

confronted the question whether a “statutory basis [existed] … under the APA” for judicial review of
the Secretary of Commerce’s report to the President regarding the decennial census data under 13

U.S.C. § 141(b). See 505 U.S. at 796-800. The Court concluded that the Secretary’s report to the

President is “not final and therefore not subject to [APA] review” because it “serves more like a

tentative recommendation than a final and binding determination.” Id. at 798. More specifically, the

Court identified two prerequisites for an agency action to be deemed “final” for APA purposes — one,

3
  The Second Circuit has left open the question whether a plaintiff’s threshold failure to identify a
“final agency action” requires dismissal under Rule 12(b)(6) or Rule 12(b)(1). Compare Air Espana v.
Brien, 165 F.3d 148, 152 (2d Cir. 1999) (“The APA . . . requirement of finality is jurisdictional”); with
Sharkey v. Quarantillo, 541 F.3d 75, 87 (2d Cir. 2008) (suggesting that whether the “threshold
requirements” of APA review are satisfied may be analyzed under Rule 12(b)(6) instead of 12(b)(1)).




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that “the agency has completed its decisionmaking process,” and, two, that “the result of that process

is one that will directly affect the parties.” Id. at 797.

         Here, both the alleged directive from the Secretary of Commerce and his submission of a

report to the President are the acts “of a subordinate official” preceding “the final action” to be taken

the President. See Franklin, 505 U.S. at 796-97. Neither type of action by the Secretary of Commerce,

therefore, is “final agency action” subject to review under the APA. See id. at 797.4

         B.      The Government Plaintiffs Have Failed to Plausibly Plead That the
                 Presidential Memorandum Amounts to “Coercion” in Violation of the Tenth
                 Amendment
         The Government Plaintiffs also have failed to plead a viable Tenth Amendment Claim. The

Tenth Amendment “reserve[s] to the states [] or to the people” those “powers not delegated to the

[federal government] by the Constitution” or “prohibited by it to the states.” The Government

Plaintiffs conclusorily assert that Defendants have violated the Tenth Amendment because the

Presidential Memorandum “punishes” Plaintiffs “for refusing to assist in the enforcement of federal

immigration laws, in an attempt to coerce plaintiffs to change their policies.” Gov’t Pls.’ Am. Compl.

¶ 155.

         Plaintiffs’ Tenth Amendment claim appears to derive from the “anti-commandeering” doctrine

articulated by the Supreme Court. See generally New York v. United States, 505 U.S. 144, 161 (1992)

(“Congress may not simply commandeer the legislative processes of the States by directly compelling
them to enact and enforce a federal regulatory program”); Printz v. United States, 521 U.S. 898, 925

(1997) (“the Federal Government may not compel the States to implement ... federal regulatory



4
  See also Dalton, 511 U.S. at 470 (holding the Secretary of Defense’s implementation of the President’s
decision to close a naval yard is not a “final agency action” reviewable under the APA); Public Citizen
v. U.S. Trade Rep., 5 F.3d 549, 551-52 (D.C. Cir. 1994) (holding that the NAFTA trade agreement
negotiated by the Trade Representative is not a “final agency action” subject to APA review because
it was up to the President to decide whether to submit the agreement to Congress); see also Flue-Cured
Tobacco Cooperative Stabilization Corp. v. EPA, 313 F.3d 852, 860-61 (4th Cir. 2003) (“even when agency
action significantly impacts the choices available to the final decisionmaker, this distinction does not
transfer [a] challenged action into reviewable agency action under the APA”).




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programs”). But nothing in the Memorandum requires States to do anything, and this claim should

therefore be dismissed.

        While Plaintiffs allege that the federal government is attempting to coerce them to “assist the

enforcement of federal immigration laws” or to “change their policies,” Gov’t Pls.’ Am. Compl. ¶ 155,

the Presidential Memorandum does not demand or require any specific effort that the Government

Plaintiffs should devote toward immigration enforcement, let alone offer any “inducement [that is]

impermissibly coercive,” Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 580 (2012). Instead, to the

extent that the Memorandum refers to immigrant populations at all, it does so only in the context of

setting forth the President’s views on the scope of his delegated authority under 2 U.S.C. § 2a and on

“principles of representative democracy.” 85 Fed. Reg. at 44,679-80.

        Indeed, the Memorandum does not incentivize or pressure the States to cooperate in enforcing

federal immigration law in any way. Rather, the apportionment policy set forth in the Memorandum

is wholly divorced from immigration enforcement, and its implementation is not conditioned on some

unspecified degree of enforcement cooperation from the States. Even if the Plaintiff States here were

to begin cooperating with federal immigration enforcement, the Memorandum, if implemented to its

maximal extent, would (crediting Plaintiffs’ allegations) nonetheless reduce their apportionment

population base (just as it would for States which have rendered such cooperation). And the converse

is also true: Plaintiff States may continue not to assist in federal immigration efforts, but the
Memorandum would operate without regard to that independent stance.

        Beyond the text of the Presidential Memorandum, Plaintiffs also have not proffered “sufficient

factual matter” that supports a reasonable inference about the existence of an unstated, improper, and

“coercive” purpose. Conclusory allegations as to the Memorandum’s “coercive” purpose are clearly

not enough under Iqbal. See Hayden v. Patterson, 594 F.3d 150, 161 (2d Cir. 2010) (under Iqbal,

“allegations that are conclusory … are not entitled to the assumption of truth”).5

5
  As the courts have long recognized, the Government’s stated reason for its policy decision is entitled
to a “presumption of legitimacy.” See Nat’l Archives & Record Admin. v. Favish, 541 U.S. 157, 174 (2006)
(recognizing that “a presumption of legitimacy [is] accorded to the Government’s official conduct”);




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        Further, insofar as Plaintiffs seek to ascribe a hidden, improper, coercive motive to the

Presidential Memorandum because, in their view, this is of a piece with Defendants’ immigration

policies writ large, this also would not satisfy Iqbal’s plausibility requirement. See 556 U.S. at 678

(“Where a complaint pleads facts that are merely consistent with a defendant’s liability, it stops short of

the line between possibility and plausibility of entitlement to relief.”) (emphasis added and internal

quotation marks omitted). Indeed, as another court in this District recently recognized in dismissing

a Tenth Amendment coercion claim, it is well-established that courts “will not typically inquire into

the hidden motives” for federal legislations and policies. New York v. Mnuchin, 408 F. Supp. 3d 399,

420 (S.D.N.Y. 2019) (internal quotation marks omitted) (dismissing Tenth Amendment challenge to

federal tax law).

        Similarly, courts have routinely held that directives and statutes do not violate the Tenth

Amendment if they do not commandeer the states. See, e.g., City of New York v. Beretta U.S.A. Corp.,

524 F.3d 384, 396–97 (2d Cir. 2008) (the “critical inquiry with respect to the Tenth Amendment is

whether the PLCAA commandeers the states,” and holding that “[t]he PLCAA ‘does not violate the

Tenth Amendment as it does not commandeer any branch of state government because it imposes no

affirmative duty of any kind on any of them.’”) (quoting Connecticut v. Physicians Health Servs. of

Connecticut, Inc., 287 F.3d 110, 122 (2d Cir. 2002)). Here, the Presidential Memorandum does not

implicate the Tenth Amendment because it does not command or compel state actors to take any
action at all. Indeed, the Government Plaintiffs’ Complaint does not allege that state actors were

compelled to take specific action or refrain from taking specific action as a result of the Memorandum.

Therefore, the Memorandum raises no commandeering issues, and the Court should dismiss the Tenth

Amendment claim.




United States v. Armstrong, 517 U.S. 456, 464687 (1996) (“in the absence of clear evidence to the
contrary, courts presume that [Government agents] have properly discharged their official duties”).




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        C.      Plaintiffs Have Failed to Sufficiently Allege an Equal Protection Claim Under
                the Fifth Amendment
        Plaintiffs allege that the Presidential Memorandum was impermissibly motivated by

discriminatory animus based on race, ethnicity, and national origin. See Gov’t Pls. Am. Compl. ¶¶ 147-

52; NGO Pls.’ Am. Compl. ¶¶ 208-21. To make these claims, however, Plaintiffs rely on two faulty

pleading devices—first, they improperly equate the Memorandum’s scrutiny of illegal aliens’ status as

“inhabitants of a state” with defining those individuals as non-persons; and, second, they inaccurately

conflate the Memorandum’s facially neutral distinction between lawful and unlawful aliens with racial

or ethnicity-based disparate treatment. Shorn of these devices, Plaintiffs fail to allege the unlawful

“animus” or “racially discriminatory intent” required to plead an equal protection violation. See Dep’t

of Homeland Security v. Regents of Univ. of Cal., 140 S. Ct. 1891, 1915 (2020) (“Regents”) (“To plead animus,

a plaintiff must raise a plausible inference that an ‘invidious discriminatory purpose was a motivating

factor’ in the relevant decision.”).

        At the outset, and citing Dred Scott, the NGO Plaintiffs allege that the Presidential

Memorandum is “denying the personhood of people living in the United States.” NGO Pls.’ Am. Compl.

¶ 214 (emphasis in original). This hyperbolic claim, however, cannot be squared with the text of the

Memorandum, which specifically explains that “[d]etermining which persons should be considered

‘inhabitants’ for the purpose of apportionment requires the exercise of judgment.” 85 Fed. Reg. at

44,679 (emphasis added). Plaintiffs’ unfounded inference of animus also fails to acknowledge that the
Memorandum treats foreign business and tourist visitors just as it treats illegal aliens—that is, as

“persons” who should be excluded from apportionment, id.—yet no one, including Plaintiffs,

contends the former category need be included in apportionment.                 In short, the Presidential

Memorandum expressly acknowledges the “personhood” of illegal aliens, but seeks to “examine” their

status, vel non, as “inhabitants of each state.” Id. at 44,679-80.

        Further, Plaintiffs inaccurately conflate the distinction drawn in the Presidential Memorandum

between lawful and illegal aliens with racial or ethnicity-based disparate treatment. Notwithstanding
Plaintiffs’ suggestion to the contrary, there can be no dispute that the Memorandum is facially neutral




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with respect to race, ethnicity, or national origin. To the extent that it makes any distinction between

persons, the Presidential Memorandum is focused on the distinction between illegal aliens and citizens

and other lawful residents. See 85 Fed. Reg. at 44,680. As the Supreme Court and the Second Circuit

have both recognized, relying on this distinction does not require heightened scrutiny for equal

protection purposes because non-citizens—much less illegal aliens—do not constitute a protected

class. See, e.g., Mathews v. Diaz, 426 U.S. 67 (1976) (limitation on eligibility for a federal medical

insurance program to citizens and long-term permanent residents did not violate Equal Protection

Clause); Lewis v. Thompson, 252 F.3d 567, 583-84 (2d Cir. 2001) (upholding Welfare Reform Act’s denial

of prenatal care coverage to unqualified noncitizens against Equal Protection challenge).

        Without the benefits of these two artifices, Plaintiffs are left with only conclusory allegations

of animus, see Gov’t Pls.’ Am. Compl. ¶ 149; NGO Pls.’ Am. Compl. ¶ 215, which are not sufficient

to state an equal protection claim. Specifically, insofar as Plaintiffs rest their claim on a supposedly

“disproportionate burden on Hispanics and immigrant communities of color,” Gov’t Pls.’ Am.

Compl. ¶ 150, this argument is foreclosed by the Supreme Court’s recent Regents decision. As the

Court recognized there, if the fact that an immigration policy would have “an outsized” impact on

“Latinos” “because [they] make up a large share of the unauthorized alien population” by itself “were

sufficient to a state a claim,” then “‘virtually any generally applicable immigration policy could be

challenged on equal protection grounds.” Regents, 140 S. Ct. at 1916. Instead, as Regents concluded,
an allegation of disproportionate burden on a specific racial or ethnic group is, in this context,

inadequate to “establish[] a plausible equal protection claim.” Id. at 1915.

        Further, to the extent that Plaintiffs seek to base their equal protection claim on a purported

link to the Commerce Secretary’s decision to add a citizenship question to the 2020 Census, see Gov’t

Pls.’ Am. Compl. ¶¶ 98, 150; NGO Pls.’ Am. Compl. ¶ 132, the claim is implausible because these two

actions involve separate decisions made by different decisionmakers that are distinct in terms of timing

and implementation. In any event, Plaintiffs cannot bootstrap their equal protection claim here to the

earlier decision because they “failed to prove, by a preponderance of the evidence, that a
discriminatory purpose motivated Defendants’ decision to reinstate the citizenship question on the



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2020 census questionnaire.”6 New York, 351 F. Supp. 3d at 671; see also Kravitz v. Dep’t of Commerce, 366

F. Supp. 3d 681, 712 (D. Md. 2019).7

          Finally, Plaintiffs cite a number of alleged statements by the President and other individuals.

See NGO Pls.’ Am. Compl. ¶¶ 130-31, 138-39 (citing statements by Richard Hofeller, Kris Kobach,

and Matt Schlapp). At the outset, because the President is the only decision-maker with respect to

issuance of the Presidential Memorandum, statements of other individuals are immaterial. See Regents,

140 S. Ct. at 1916 (statements by non-decisionmakers “remote in time and made in unrelated contexts”

are “unilluminating”). Moreover, to the extent that Plaintiffs discuss the President’s statements, see,

e.g., Gov’t Pls.’ Am. Compl. ¶¶ 114-15; NGO Pls.’ Am. Compl. ¶ 141, they fail to draw any specific

link between those statements and the specific policy announced in the Presidential Memorandum.

Thus, they cannot plausibly serve as evidence for his subjective motivations in issuing that discrete

policy.

          The face of the Presidential Memorandum plainly states that the policy’s purpose was to

promote “the principles of representative democracy underpinning our system of Government.” 85

Fed. Reg. at 44,630. Plaintiffs have failed to plausibly allege that, notwithstanding this permissible

purpose, it was merely a pretext for a “real reason” to discriminate against Hispanics, St Mary’s Honor

Ctr. v. Hicks, 509 U.S. 502, 515 (1993), or that it was motivated by such animus, Pers. Admin. of Mass.

v. Feeney, 442 U.S. 256, 279 (1979). Accordingly, the Equal Protection claim should be dismissed.

6
  Merely alleging that the Presidential Memorandum is a continuation of the attempt to add a
citizenship question is insufficient to plausibly assert discriminatory intent. Indeed, Plaintiffs’
allegations on this score are circular—they want to rely on the earlier decision to bolster their claim of
animus here, without acknowledging their own failure to prove animus as to the earlier decision.
Further, Plaintiffs have not identified any basis for imputing the motivation of the earlier decision by
Secretary Ross to the President’s decision-making here—even though that is a flaw the Court
specifically identified in the earlier proceeding. See New York, 351 F. Supp. 3d at 670 (“Plaintiffs failed
to prove a sufficient nexus between President Trump and Secretary Ross’s decision to make the
President’s statements or policies relevant to the equal protection analysis.”).
7
 In a decision that later became moot, a district court in the citizenship-question context concluded
that “newly discovered evidence” raised a “substantial issue” because it suggested “that Dr. Hofeller
was motivated to recommend the addition of a citizenship question to the 2020 Census to advantage
Republicans by diminishing Hispanics’ political power.” Kravitz v. Dept’ of Commerce, No. 18-cv-1041
(D. Md. June 3, 2019), ECF No. 162-1 at 1.



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        D.      Plaintiffs Have Failed to State an Apportionment Clause Claim

        The operative Apportionment Clause mandates that Representatives shall be “apportioned

among the several States according to their respective numbers, counting the whole number of

persons in each State, excluding Indians not taxed.” U.S. Const. amend. XIV, § 2. But, after

accounting for the express exclusion of “Indians not taxed,” neither this Clause nor its predecessor in

Article I was ever understood to mandate the inclusion of every person present within the boundaries

of each State at the time of the census. See id. art. I, § 2, cl. 3. To the contrary, from the time of the

Founding through the ratification of the Fourteenth Amendment and continuing to the present day,

the Apportionment Clause has been understood to require counting “inhabitants.” In other words,

only usual residents—those with a fixed and enduring tie to a State, as recognized by the Executive—

need be deemed “persons in [that] State,” id. amend. XIV, § 2 (emphasis added). And because the

word “inhabitants” is sufficiently indeterminate, the Supreme Court has recognized that the term

confers significant discretion on the Executive to make legal determinations about the “usual

residence” of an individual without treating his physical presence in a particular jurisdiction (or lack

thereof) as dispositive. See Franklin, 505 U.S. at 804-06.

        This well-established framework plainly forecloses Plaintiffs’ facial challenge to the

Presidential Memorandum. For Plaintiffs to succeed, they must establish that the Constitution

requires including all illegal aliens in the apportionment base. But that is obviously incorrect. To give
just one example, nothing in the Constitution requires that illegal aliens residing in a detention facility

after being arrested while crossing the border must be accounted for in the allocation of

Representatives (and hence political power). This is fatal to Plaintiffs’ Motion.

                        1.      Only “Inhabitants” Who Have Their “Usual Residence” in a
                                State Need Be Included in the Apportionment.
        As the Supreme Court has explained, “‘[u]sual residence,’ was the gloss given the constitutional

phrase ‘in each State’ by the first enumeration Act [of 1790] and has been used by the Census Bureau

ever since to allocate persons to their home States.” Franklin, 505 U.S. at 804. The Act also uses
“other words [ ] to describe the required tie to the State: ‘usual place of abode,’ [and] ‘inhabitant[.]’”




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Id. at 804-05. These terms “can mean more than mere physical presence, and [have] been used broadly

enough to include some element of allegiance or enduring tie to a place.” Id.

        The settled understanding that only “inhabitants” who have their “usual residence” in the

country must be counted stems from the drafting history of the Apportionment Clause. In the draft

Constitution submitted to the Committee of Style, the Apportionment Clause required “the

Legislature [to] regulate the number of representatives by the number of inhabitants.” 2 The Records

of the Federal Convention of 1787, at 566, 571 (Max Farrand ed., rev. ed. 1966) (emphasis added).

The Committee of Style changed the language to provide that “Representatives and direct Taxes shall

be apportioned among the several States which may be included within this Union, according to their

respective Numbers, which shall be determined by adding to the whole Number of free Persons,

including those bound to Service for a Term of Years, and excluding Indians not taxed, three fifths of

all other Persons.” U.S. Const. art. I, § 2, cl. 3. But “the Committee of Style ‘had no authority from

the Convention to alter the meaning’ of the draft Constitution,” Utah v. Evans, 536 U.S. 452, 475

(2002), and the Supreme Court has thus found it “abundantly clear” that, under the original Clause,

apportionment “should be determined solely by the number of the State’s inhabitants,” Wesberry v.

Sanders, 376 U.S. 1, 13 (1964); see also Franklin, 505 U.S. at 804-05 (observing that “the first draft” of

the Apportionment Clause “used the word ‘inhabitant,’ which was omitted by the Committee of Style

in the final provision”).
        Historical sources confirm this reading. In The Federalist, James Madison repeatedly explained

that apportionment under the new Constitution would be based on a jurisdiction’s “inhabitants.” See

The Federalist No. 54, at 369 (Jacob E. Cooke ed., 1961) (observing that “the aggregate number of

representatives allotted to the several States[] is to be determined by a federal rule founded on the

aggregate number of inhabitants”); The Federalist No. 56, at 383 (noting that the Constitution

guarantees “a representative for every thirty thousand inhabitants”); The Federalist No. 58, at 391 (noting

that the Constitution mandates a “readjust[ment] from time to time [of] the apportionment of

representatives to the number of inhabitants”); see also Evenwel v. Abbott, 136 S. Ct. 1120, 1127 (2016)
(“[T]he basis of representation in the House was to include all inhabitants” (emphasis omitted)).



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Similarly, as the Supreme Court recognized, the first enumeration Act of 1790—titled “an act

providing for the enumeration of the inhabitants of the United States”—directed “the marshals of the

several districts of the United States” to count “the number of the inhabitants within their respective

districts.” Act of Mar. 1, 1790, § 1, 1 Stat. 101, 101; see Franklin, 505 U.S. at 803-05 (relying on the

Census Act of 1790 to apply the Apportionment Clause).

        This understanding of “usual residence” and “inhabitant” was enshrined in the constitutional

text and incorporated by historical practice when the Fourteenth Amendment’s Apportionment

Clause was ratified almost 80 years later. According to Representative Roscoe Conkling, a member

of the committee that drafted the Fourteenth Amendment, the operative Apportionment Clause’s

streamlined language—requiring apportionment based on “the whole number of persons in each

State”—was meant to fully include former slaves in the apportionment base and otherwise “adhere[]

to the Constitution as it is.” Cong. Globe, 39th Cong., 1st. Sess. 359 (1866). The Amendment’s text

confirms that understanding: it underscores that a person who possesses sufficient ties to a State will

be included by specifying that “the persons in each State” must be counted, U.S. Const. amend. XIV, §

2 (emphasis added)—a phrase that the Supreme Court later explained to be equivalent to the term

“inhabitant.” Franklin, 505 U.S. at 804-05. Indeed, the very next sentence of section 2 of the

Fourteenth Amendment equates “persons in each State” with “inhabitants” by penalizing in the

apportionment any State that denies the right to vote to the “male inhabitants of such State” who
would otherwise be eligible to vote (principally by reason of citizenship and age). Id. Unsurprisingly,

the first census after ratification of the Fourteenth Amendment was conducted in accordance with the

same procedures that had been used for the 1850 census, see Act of May 6, 1870, ch. 87, § 1, 16 Stat.

118, 118, which, in turn had required “all [States’] inhabitants to be enumerated,” Act of May 23,

1850, ch. 11, § 1, 9 Stat. 428, 428; see also Franklin, 505 U.S. at 804 (“‘Usual residence,’ was the gloss

given the constitutional phrase ‘in each State’ by the first enumeration Act [of 1790] and has been

used by the Census Bureau ever since to allocate persons to their home States.”).

        Reading the Apportionment Clause to contemplate apportionment of Representatives based
on “inhabitants” (or “usual residents”) also helps explain the historical exclusion of certain people



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from the apportionment base. For example, transient aliens, such as those temporarily residing here

for vacation or business, are not included in the apportionment base. See, e.g., Final 2020 Census Residence

Criteria and Residence Situations, 83 Fed. Reg. 5,526, 5,533 (2018) (Residence Criteria); Dennis L. Murphy,

Note, The Exclusion of Illegal Aliens from the Reapportionment Base: A Question of Representation, 41 CASE W.

RES. L. REV. 969, 980 (1991). That makes sense, as such aliens were not considered “usual residents”

or “inhabitants” either at the Founding or the ratification of the Fourteenth Amendment. As

contemporaneous sources using the term make clear, to qualify as an “inhabitant,” one had to, at a

minimum, establish a fixed residence within a jurisdiction and intend to remain there. See, e.g., Bas v.

Steele, 2 F. Cas. 988, 993 (Washington, Circuit Justice, C.C.D. Pa. 1818) (No. 1088) (concluding that a

Spanish subject who had remained in Philadelphia as a merchant for four months before seeking to

leave, “was not an inhabitant of this country, as no person is an inhabitant of a place, but one who

acquires a domicil there”).8

        Likewise, foreign diplomats stationed overseas arguably remained “inhabitants” of their native

countries rather than of their diplomatic posts. See Franklin, 505 U.S. at 805 (confirming that American

diplomat stationed overseas could still qualify as an “inhabitant” who is “in” his home State for

8
  See also, e.g, Hylton v. Brown, 12 F. Cas. 1123, 1129 (Washington, Circuit Justice, C.C.D. Pa. 1806) (No.
6,981) (charging jury while riding circuit that a particular individual “was no more an inhabitant of this
state than I am, who spend one-third of each year in this city; or any other person, who comes here
to transact a certain piece of business, and then returns to his family”); Toland v. Sprague, 23 F. Cas.
1353, 1355 (C.C.E.D. Pa. 1834) (No. 14,076) (distinguishing an “inhabitant” from a “transient
passenger”); United States v. Laverty, 26 F. Cas. 875, 877 (D. La. 1812) (No. 15,569A) (“An inhabitant
is one whose domicile is here, and settled here, with an intention to become a citizen of the country.”);
United States v. The Penelope, 27 F. Cas. 486, 489 (D. Pa. 1806) (No. 16,204) (“[T]he following has always
been my definition of the words ‘resident,’ or ‘inhabitant,’ which, in my view, mean the same thing.
‘An inhabitant, or resident, is a person coming into a place with an intention to establish his domicil,
or permanent residence; and in consequence actually resides … .’”); 41 Annals of Cong. 1595 (1824)
(referring to “the common acceptation” of “inhabitant” as “the persons whose abode, living, ordinary
habitation, or home” is within a particular jurisdiction); Thomas Dyche & William Pardon, A New
General English Dictionary (16th ed. 1781) (“a person that resides or ordinarily dwells in a place or
home”); 1 & 2 Samuel Johnson, A Dictionary of the English Language s. v. abode, inhabitant, reside,
residence, resident (6th ed. 1785) (a “[d]weller,” or one who “lives or resides” in a place, with the
terms “reside,” “residence,” and “resident” defined with reference to an “abode”—i.e., a “continuance
in a place”); Noah Webster, American Dictionary of the English Language (1828) (defining “inhabitant” as
a “dweller; one who dwells or resides permanently in a place, or who has a fixed residence, as
distinguished from an occasional lodger or visitor”).



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purposes of “the related context of congressional residence qualifications”); Emer de Vattel, The Law

of Nations, ch. 19, § 213 (1817) (explaining that diplomats could not qualify as “inhabitants” because

“the envoy of a foreign prince has not his settlement at the court where he resides”). And

unsurprisingly, foreign diplomatic personnel living on embassy grounds have previously been excluded

from the apportionment base. Murphy, supra, at 980.

        Tourists and diplomats may be “persons” within a State’s boundaries at the time of the

Enumeration, but no one seriously contends that they must be included in the apportionment base

under the Constitution. Physical location does not, in short, necessarily dictate whether one is an

“inhabitant” (or “usual resident”) of a particular jurisdiction.

                        2.      The Executive Has Significant Discretion to Define Who
                                Qualifies as an “Inhabitant.”
        Crucially, the term “inhabitant”—and the concept of “usual residence”—is sufficiently

ambiguous to give Congress, and by delegation the Executive, significant discretion to define the

contours of “inhabitants” for apportionment purposes. That discretion is rooted in the Constitution.

Article I provides that apportionment numbers are determined by an “actual Enumeration” performed

every 10 years “in such Manner as” Congress “shall by Law direct.” U.S. Const. art. I, § 2, cl. 3; see

also id. amend. XIV, § 5 (giving Congress the power to “enforce, by appropriate legislation, the

provisions of” the Fourteenth Amendment, including the operative Apportionment Clause). This
“text vests Congress with virtually unlimited discretion in conducting the ‘actual Enumeration,’

[and] … [t]hrough the Census Act, Congress has delegated its broad authority over the census to the

Secretary.” Wisconsin v. City of New York, 517 U.S. 1, 19 (1996) (citations omitted). But the Secretary

is not the final word on apportionment, and indeed is not the one responsible for determining the

apportionment base. Instead, by statute, the Secretary must report census numbers to the President.

See 13 U.S.C. § 141(b). And it is the President, then, who “transmit[s] to the Congress a statement

showing the whole number of persons in each State, excluding Indians not taxed, as ascertained under

the seventeenth and each subsequent decennial census of the population, and the number of
Representatives to which each State would be entitled under an apportionment of the then existing




                                                    31
number of Representatives.” 2 U.S.C. § 2a(a). In doing so, the President has full “authority to direct

the Secretary in making policy judgments that result in ‘the decennial census’; he is not expressly

required to adhere to the policy decisions reflected in the Secretary’s report.” Franklin, 505 U.S. at

799. So “the Secretary cannot act alone; she must send her results to the President, who makes the

calculations and sends the final apportionment to Congress.” Id. at 800. That “final act” by the

President is “not merely ceremonial or ministerial,” but remains “important to the integrity of the

process.” Id. Indeed, it is “the President’s personal transmittal of the report to Congress” that “settles

the apportionment” of Representatives among the States. Id. at 799.

        Of course, the Executive’s decisions in this area must be “consonant with … the text and

history of the Constitution,” Franklin, 505 U.S. at 806, but the term “inhabitants”—and the concept

of “usual residence”—are sufficiently indeterminate to give him significant discretion within

constitutional bounds. See id. at 804-06 (discussing how the notion of “usual residence” has been

applied differently over time). Indeed, Madison himself acknowledged that the word “inhabitant” was

“vague” in discussing the House Qualifications Clause. 2 The Records of the Federal Convention of

1787, at 216-17; cf. Franklin, 505 U.S. at 805 (in the course of applying the Apportionment Clause,

drawing on Madison’s interpretation of the “term ‘inhabitant’” in “the related context of congressional

residence qualifications”). As noted, historical evidence confirms that the term “inhabitant” was

understood to require, at a minimum, a fixed residence within a jurisdiction and intent to remain there.
See supra at 30 n.8. Moreover, Founding-era sources also reflect that, especially with respect to aliens,

the term could be understood to further require a sovereign’s permission to enter and remain within

a given jurisdiction. See, e.g., The Venus, 12 U.S. (8 Cranch.) 253, 289 (1814) (Marshall, C.J., concurring

in part and dissenting in part) (quoting Vattel for the proposition that “inhabitants, as distinguished

from citizens, are strangers who are permitted to settle and stay in the country” (emphasis added)); The

Federalist No. 42, at 285 (Madison) (discussing provision of the Articles of Confederation that required

every State “to confer the rights of citizenship in other States … upon any whom it may allow to become

inhabitants within its jurisdiction” (emphasis added)).




                                                    32
        Accordingly, the Executive has wide discretion to make legal determinations about who does

and does not qualify as an “inhabitant” for purposes of inclusion in or exclusion from the

apportionment base. In Franklin, for example, the Supreme Court held that the Executive Branch

could allocate over 900,000 military personnel living overseas to their home States on the basis of the

Secretary’s judgment that such people “had retained their ties to the States.” 505 U.S. at 806. That

allocation “altered the relative state populations enough to shift a Representative from Massachusetts

to Washington”—and had not been used “until 1970,” save for a “one-time exception in 1900.” Id.

at 791-93. Nevertheless, as the Court explained, even though the recent approach was “not dictated

by” the Constitution, it was “consonant with [its] text and history” and thus a permissible “judgment”

within the Executive Branch’s discretion, even where Congress had not expressly authorized this

practice. Id. at 806. In the course of reaching this judgment, the Court also listed a number of other

legal determinations of usual residency that the Executive Branch has permissibly chosen to use over

the years—including determinations the Census Bureau has since abandoned. For example, “up until

1950, college students were counted as belonging to the State where their parents resided, not to the

State where they attended school,” and at the time the case was decided, “[t]hose persons who are

institutionalized in out-of-state hospitals or jails for short terms [were] also counted in their home

States.” Id. Under the current Residence Criteria, however, college students who live at school during

the academic year and prisoners housed in out-of-state jails, even for the short term, are counted in
the State in which those institutions are located. Residence Criteria, 83 Fed. Reg. at 5,534, 5,535.

        Plaintiffs have never challenged the Residence Criteria in court. To the contrary, they

intervened to defend it against challenge in another case. See Alabama v. Dep’t of Commerce, No. 18-cv-

772 (N.D. Ala.), Mot. to Intervene, ECF No. 97 at 15 (Aug. 12, 2019). Plaintiffs’ ongoing defense of

the Residence Criteria suggests that not even they dispute that the Executive has discretion to define

“inhabitant” and to determine who meets its strictures. See Franklin, 505 U.S. 804-06. Nor can they,

given constitutional text, history, and Supreme Court precedent. The Presidential Memorandum is

no different insofar as it reflects the Executive Branch’s discretionary decision to direct the Secretary
in making policy judgments that result in the decennial census. Franklin, 505 U.S. at 799.



                                                   33
                        3.       The Apportionment Clause Does Not Require Inclusion of All
                                 Illegal Aliens as “Inhabitants” Having a “Usual Residence” in
                                 a State.
        Plaintiffs maintain that the Presidential Memorandum facially violates the Apportionment

Clause because all illegal aliens necessarily qualify as “persons in each State,” and because the

Memorandum contemplates the exclusion of such aliens—in some as-yet unknown number—for

apportionment purposes. Put differently, Plaintiffs posit that the Constitution prohibits the exclusion

of any illegal alien from the apportionment base, and that the Memorandum’s announcement of that

possibility violates the Apportionment Clause. But none of the constitutional constraints on the

Executive’s discretion to define the contours of “inhabitants” or “usual residence” require including

all illegal aliens in the apportionment.

        For example, if the Census Bureau finds it feasible to identify unlawfully present aliens who

resided in a Customs and Border Patrol (CBP) or Immigration and Customs Enforcement (ICE)

facility within a State on census day after being arrested while illegally entering the country, it would

be permissible to exclude them. Such individuals—like alien tourists who happen to be staying in the

country for a brief period on and around census day—cannot reasonably be said to have established

“the required tie to [a] State,” Franklin, 505 U.S. 804, or to be “inhabitants” under any definition of

that term.9

        Likewise, if feasibly identified, the Executive may exclude aliens who have been detained for
illegal entry and paroled into the country pending removal proceedings, or who are subject to final




9
 These populations may be significant. During fiscal year 2019, ICE held in custody an average
daily population of 50,165 aliens. U.S. ICE ERO, U.S. Immigration and Customs Enforcement Fiscal Year
2019 Enforcement and Removal Operations Report, at 5 (2019) (ICE ERO Report),
https://www.ice.gov/sites/default/files/documents/Document/2019/eroReportFY2019.pdf. And
on any given day in the summer of 2019, CBP held in custody between 8,000 and 12,000 detainees.
U.S. Customs and Border Protection – Border Patrol Oversight: Hearing Before the H. Subcomm. on Homeland
Security of the Comm. on Appropriations, 116th Cong. (2019) (testimony of Carla L. Provost, Chief, U.S.
Border Patrol), https://docs.house.gov/meetings/AP/AP15/20190724/109834/HHRG-116-
AP15-Wstate-ProvostC-20190724.pdf.




                                                   34
orders of removal.10 Such aliens do not have enduring ties to any State sufficient to become

“inhabitants” with their “usual residence” in the United States. The government has either allowed

them into the country solely conditionally while it is deciding whether they should be removed, or has

conclusively determined that they must be removed from the country. In Kaplan v. Tod, 267 U.S. 228

(1925), for instance, the Supreme Court addressed the case of an alien minor who had been denied

entry at Ellis Island in 1914 but could not be returned to Russia during the First World War and was

therefore paroled into the country to live with her father in 1915. When the case reached the Supreme

Court almost ten years later in 1925, it turned entirely on the question whether the alien minor had

been “dwelling in the United States” or had “begun to reside permanently” in the United States for

purposes of federal immigration statutes, which would have conferred derivative citizenship on her

upon her father’s naturalization in 1920. Id. at 230. The Court held that, during her parole, she “never

has been dwelling within the United States” and “[s]till more clearly she never has begun to reside

permanently in the United States.” Id. As the Court explained, she “could not lawfully have landed

in the United States” because she fell within an inadmissible category of aliens, and “until she legally

landed [she] ‘could not have dwelt within the United States.’” Id. (quoting Zartarian v. Billings, 204 U.S.

170, 175 (1907)). In the Court’s view, she was in “the same” position as an alien “held at Ellis Island

for deportation.” Id. at 230; see also, e.g., Leng May Ma v. Barber, 357 U.S. 185, 190 (1958) (holding that

parole cannot affect an alien’s status and does not place an alien “legally ‘within the United States’”).
Indeed, the Supreme Court recently reaffirmed that “aliens who arrive at ports of entry—even those

paroled elsewhere in the country for years pending removal—are ‘treated’ for due process purposes

‘as if stopped at the border,’” and that the same principle applies to those detained “shortly after

unlawful entry.” DHS v. Thuraissigiam, 140 S. Ct. 1959, 1982 (2020).


10
   ICE’s non-detained docket surpassed 3.2 million cases in fiscal year 2019, a population large
enough to fill more than four congressional districts under the 2010 apportionment. ICE ERO
Report at 10; Kristin D. Burnett, Congressional Apportionment, U.S. Census Bureau (Nov. 2011),
https://www.census.gov/prod/cen2010/briefs/c2010br-08.pdf. The non-detained docket includes
aliens who are both pre- and post-final order of removal, and who have been released on parole,
bond, an order of recognizance, an order of supervision, or who are in process for repatriation. ICE
ERO Report at 10.



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        Plaintiffs emphasize that Framers of both the original Apportionment Clause and the

Fourteenth Amendment intended to include aliens in the apportionment base. Dkt. 77, at 16; see id.

at 13-17. But Plaintiffs’ historical evidence about the treatment of aliens does not and cannot resolve

the distinct question whether illegal aliens must be included—for the simple reason that there were no

federal laws restricting immigration (and hence no illegal aliens) until 1875. See Kleindienst v. Mandel,

408 U.S. 753, 761 (1972). And Plaintiffs provide no evidence to support the proposition that by

employing the concepts of “inhabitants” and “usual residence,” the Framers of either the original

Constitution or Fourteenth Amendment were understood to have bound future generations to

allocate political power on the basis of aliens living in the country in violation of federal law. To the

contrary, as the Supreme Court has explained, the Framers understood the “fundamental

proposition[]” that the “power to admit or exclude aliens is a sovereign prerogative.” Thuraissigiam,

slip op. at 35.11 This “ancient principle[] of the international law of nation-states” is necessary to the

sovereign’s rights to define the polity (“the people”) that make up the nation and to preserve itself, as

both the Supreme Court and 19th-century international law scholars recognized.12 It is fundamentally

11
  See also, e.g., Landon v. Plasencia, 459 U.S. 21, 32 (1982); Chae Chan Ping v. United States, 130 U.S. 581,
604 (1889); Fong Yue Ting v. United States, 149 U.S. 698, 711 (1893).
12
   Kleindienst v. Mandel, 408 U.S. 753, 765 (1972); see, e.g., Nishimura Ekiu v. United States, 142 U.S. 651,
659 (1892) (“It is an accepted maxim of international law, that every sovereign nation has the power,
as inherent in sovereignty, and essential to self- preservation, to forbid the entrance of foreigners
within its dominions, or to admit them only in such cases and upon such conditions as it may see fit
to prescribe.”) (citing Vattel and Phillimore); Vattel, The Law of Nations, bk. 2, §§ 94, 100 (explaining
that the sovereign’s authority to “forbid the entrance of his territory either to foreigners in general, or
in particular cases,” “flow[ed] from the rights of domain and sovereignty”); 1 Robert Phillimore,
Commentaries Upon International Law, ch. 10, § CCXIX (1854) (similar); see also, e.g., Bernal v. Fainter, 467
U.S. 216, 221 (1984) (“The exclusion of aliens from basic governmental processes is not a deficiency
in the democratic system but a necessary consequence of the community’s process of political self-
definition. Self-government, whether direct or through representatives, begins by defining the scope
of the community of the governed and thus of the governors as well: Aliens are by definition those
outside of this community.”); Chae Chan Ping, 130 U.S. at 603–04 (recognizing that a sovereign’s power
to “exclude aliens from its territory” is “an incident of every independent nation” and is “part of its
independence,” and “[i]f it could not exclude aliens it would be to that extent subject to the control
of another power”); The Schooner Exchange v. McFaddon, 11 U.S. (7 Cranch) 116, 136 (1812) (Marshall,
C.J.) (“The jurisdiction of the nation within its own territory is necessarily exclusive and absolute. It is
susceptible of no limitation not imposed by itself. Any restriction upon it, deriving validity from an




                                                     36
antithetical to those elementary principles to say, as Plaintiffs do, that illegal aliens can arrogate to

themselves the right to redistribute “political power” within this polity by flouting the sovereign power

of the United States to define who can enter and become part of the polity. Pls.’ Br. 10, 41, 51.

Rejecting Plaintiffs’ approach is certainly “consonant with” with the terms and history of the

Fourteenth Amendment. Franklin, 505 U.S. at 806.

        If anything, the debates over the Fourteenth Amendment on which Plaintiffs rely indicate that

the rationale the Framers offered for including aliens in the apportionment base do not apply to illegal

aliens. Specifically, various legislators made clear that unnaturalized aliens should be included in the

apportionment base precisely because the law provided them with a direct pathway to citizenship—

mainly, an oath of loyalty and five years of residence in the United States, see Act of Apr. 14, 1802, 2

Stat. 153. As Representative Conkling pointed out, “[t]he political disability of aliens was not for this

purpose counted against them, because it was certain to be temporary, and they were admitted at once into

the basis of apportionment.” Cong. Globe, 39th Cong., 1st Sess., at 356 (1866) (emphasis added); see

also, e.g., id. at 3035 (Senator Henderson explaining that “[t]he road to the ballot is open to the

foreigner; it is not permanently barred”). Indeed, the five-year residency requirement meant that aliens

could “acquire [the vote] in the current decade”—and thus unnaturalized aliens could be voting

citizens before the next apportionment. Id. at 354 (Representative Kelley). And even an opponent of

the inclusion of aliens in the apportionment agreed that unnaturalized aliens were on “a short period
of probation—five years; and in most of the states the great body of them are promptly admitted to

citizenship.” Id. at 2987 (Sen. Sherman). That rationale plainly does not extend to illegal aliens, who

generally are prohibited by law from becoming citizens and are subject to removal. 8 U.S.C. §§

1182(a)(9), 1227(a), 1255(a) & (c), 1427(a).

        Plaintiffs are also wrong in arguing that Plyler v. Doe, 457 U.S. 202 (1982), requires the inclusion

of illegal aliens in the apportionment base. Dkt 77, at 12. Plyler held only that illegal aliens are “persons


external source, would imply a diminution of its sovereignty to the extent of the restriction, and an
investment of that sovereignty to the same extent in that power which could impose such
restriction.”).



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within the jurisdiction” of a State for purposes of the Equal Protection Clause, 457 U.S. at 210, which

is inapposite here. In contrast to the Apportionment Clause, the Equal Protection Clause has never

been understood to be limited to “inhabitants” or “usual residents” of a State. That is why no one

seriously contends that alien tourists visiting the United States should be included in the

apportionment base, even though they are undoubtedly “persons” protected by the Equal Protection

Clause. See also Mathews v. Diaz, 426 U.S. 67, 78 (1976) (“The fact that all persons, aliens and citizens

alike, are protected by the Due Process Clause does not lead to the further conclusion that all aliens

are entitled to enjoy all the advantages of citizenship or, indeed, to the conclusion that all aliens must

be placed in a single homogeneous legal classification.”).

        Indeed, Plaintiffs’ reading of Plyler—that all illegal aliens must be included in the

apportionment—is at odds with history and precedent. Likewise, Plaintiffs’ reliance on a redistricting

decision, Evenwel v. Abbott, for the proposition that “the basis of representation in the House was to

include all inhabitants,” 136 S. Ct. 1120, 1127 (2016); Pls.’ Br. 14, does not dispose of this case as

Plaintiffs contend, but rather begs the central question here as to the limits on how “inhabitant” may

be defined. Nothing in the terms “inhabitants” or “usual residence” suggests that this concept covers

all illegal aliens. Rather, as noted above, the Supreme Court has observed that the term “‘[u]sual

residence’ … has been used broadly enough to include some element of allegiance or enduring tie to

a place.” Franklin 505 U.S. at 804. In addition, the Founding generation was aware that the term
“inhabitant” could be understood to require that an alien be given permission to settle and stay in a

jurisdiction according to the definition provided by Vattel, whom the Supreme Court has extolled as

the “founding era’s foremost expert on the law of nations.” Franchise Tax Board v. Hyatt, 139 S. Ct.

1485, 1493 (2019); see 1 Vattel, The Law of Nations ch. 19, § 213 (defining “inhabitants, as distinguished

from citizens,” as “foreigners, who are permitted to settle and stay in the country”).13 And in Kaplan,


13
   As the Supreme Court has observed: “The international jurist most widely cited in the first 50 years
after the Revolution was Emmerich de Vattel. In 1775, Benjamin Franklin acknowledged receipt of
three copies of a new edition, in French, of Vattel’s Law of Nations and remarked that the book ‘has
been continually in the hands of the members of our Congress now sitting.’” U.S. Steel Corp. v.
Multistate Tax Comm’n, 434 U.S. 452, 463 n.12 (1978) (ellipsis and citations omitted omitted).



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the Supreme Court held that an alien who had not effected a lawful entry into the country could not

be characterized as “dwelling” in the country under the latest version of a naturalization law dating

from 1790 that had conditioned derivative citizenship for certain aliens on their “dwelling” in the

United States—a concept linked with “inhabitants” since the Founding Era. 267 U.S. at 230; see Act

of Mar. 26, 1790, § 1, 1 Stat. 103, 104. Illegal aliens, however, are necessarily limited in claiming that

they have “enduring ties” to, or are “dwelling” in, this country, because as a matter of law they may

be removed from the country at any time. See also Gonzalez v. Holder, 771 F.3d 238, 245 (5th Cir. 2014)

(applying Kaplan to an alien who “entered the United States at the age of seven, albeit illegally, and …

remained in the country” for 16 years); U.S. ex rel. De Rienzo v. Rodgers, 185 F. 334, 338 (3d Cir. 1911)

(explaining that an alien “cannot begin” to “reside permanently” in the United States “if he belongs

to a class of aliens debarred from entry into the country by the act to regulate the immigration of aliens

into the United States”).

        Ultimately, however, it is neither necessary nor appropriate for this Court to resolve whether

any particular category of illegal aliens must be deemed “inhabitants” for purposes of the

apportionment. In order to prevail on this facial challenge to the Presidential Memorandum, Plaintiffs

must establish that there is no category of illegal aliens that may be lawfully excluded from the

apportionment. See, e.g., Deshawn E v. Safir, 156 F.3d 340, 347 (2d Cir. 1998) (“A facial challenge will

only succeed if there is no set of circumstances under which the challenged practices would be
constitutional.”). Plaintiffs have not, and indeed cannot, make that showing. Rather than facing that

question, Plaintiffs divert attention by asking the Court to decide a much different question—and

more than is necessary to resolve this case—by seeking a holding that the Apportionment Clause

would prohibit the exclusion of all categories of aliens. That question is not properly presented here.

The Presidential Memorandum states that it will be the policy of the United States “to exclude from

the apportionment base aliens who are not in a lawful immigration status under the Immigration and

Nationality Act, as amended (8 U.S.C. 1101 et seq.), to the maximum extent feasible and consistent with the

discretion delegated to the executive branch.” 85 Fed. Reg. at 44,679 (emphasis added). And Plaintiffs have
rushed to Court before the Census Bureau has determined which illegal aliens it may be “feasible” to



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exclude, before the Census Bureau has reported any numbers to the Secretary, before the Secretary

has reported any numbers to the President, and before the President has reported any numbers to

Congress. Accordingly, this Court need not and should not resolve whether the Apportionment

Clause necessarily excludes or includes any particular category of illegal aliens from the apportionment

base. Rather, for Plaintiffs to prevail, they must establish that there is no category of illegal aliens that

could ever be excluded. They cannot do so.

        E.      Plaintiffs Have Failed to State an Ultra Vires or “Separation of Powers” Claim

        Plaintiffs posit that “[b]y requiring the exclusion of undocumented immigrants from the

statutory phrases ‘total population’ and ‘whole number of persons in each State,’ the Memorandum

directs the President and the Secretary of Commerce to perform unlawful, ultra vires actions.” Pls.’ Br.

at 29. NGO Plaintiffs also allege that the President has violated the Constitution’s separation-of-

powers principle because Congress “delegated authority over the census to the Commerce Secretary, not

the President.” See NGO Pls.’ FAC ¶¶ 222–36. However characterized, these claims fail. Like every

other census and apportionment conducted under 13 U.S.C § 141 and 2 U.S.C. § 2a, the Memorandum

fully complies with powers delegated by Congress under this statutory scheme.

        Nothing in the statutory language of “total population,” 13 U.S.C. § 141(b), or “whole number

of persons in each State,” 2 U.S.C. § 2a(a), requires counting every person physically present on Census

Day, even if they lack “usual residence” in the United States.14 It is, of course, true that “the word
‘person’ in § 2a makes no distinction based on citizenship or immigration status.” Pls.’ Br. at 29. And

no one disputes that aliens (legal or illegal) are “persons.” Cf. Plyler v. Doe, 457 U.S. 202 (1982). But §

2a does not reference only “persons”; it tracks the Fourteenth Amendment’s text mandating

apportionment based on the “whole number of persons in each State.” 2 U.S.C. § 2a(a) (emphasis


14
    Everyone seems to agree that the Executive may lawfully exclude individuals from the enumeration
and apportionment if they do not have a “usual residence” or “enduring tie” to a State. See Section
III.E, supra; Pls.’ Br. at 23 (“[T]emporary visitors are not included in the apportionment base precisely
because the United States is not their ‘usual residence.’”); Br. of Amici Curiae Historians at 11, ECF
No. 105-1 (“The rationale for excluding [ ] limited categories of noncitizens is clear and entirely
consistent with the Framers’ intent, and longstanding census practice, to count all persons residing in
the United States.”).



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added). So while Plaintiffs argue that Congress is “presumed to legislate with familiarity of the legal

backdrop for its legislation,” Pls.’ Br. at 30 (quoting Mobil Cerro Negro, Ltd. v. Bolivarian Republic of

Venezuela, 863 F.3d 96, 114 (2d Cir. 2017)), that legal backdrop only supports the exclusion of individuals

from apportionment if they do not have a “usual residence” in the United States. Franklin, 505 U.S.

at 804; accord Pls.’ Br. at 30 (arguing that when “Congress used the materially same language in a statute

it . . . intended for [the language] to retain its established meaning” (quoting Lamar, Archer & Cofrin,

LLP v. Appling, 138 S. Ct. 1752, 1762 (2018)); id. at 32 (contending that “2 U.S.C. § 2a, has always been

understood to include people who reside in a particular State” (emphasis added)). That is why no

apportionment conducted under the Census Act has included literally everyone physically present in

the country. See Br. of Amici Curiae Historians at 10 (“This ‘usual residence rule’ is consistent with the

Framers’ repeated emphasis on counting ‘inhabitants’ on United States soil . . . and has remained the

guiding principle for census-taking for 230 years.”). Just as the Memorandum does not violate the

Constitution merely by contemplating the exclusion of some as-yet-unknown number of illegal aliens

for lack of “usual residence,” neither does it violate the identical language of § 2a.15 See Section III.E,

supra.

         Nor does it matter that the President is making an independent choice in the apportionment

process. While the apportionment calculation itself—feeding numbers into a mathematical formula

known as the “method of equal proportions”—is “admittedly ministerial,” there is nothing
“ministerial” about the President’s role in obtaining the numbers used in that formula. Franklin, 505

U.S. at 799 (explaining that “the admittedly ministerial nature of the apportionment calculation itself

does not answer the question [of] whether the apportionment is foreordained by the time the Secretary




15
  This “usual residence” approach is consistent with the approach taken in the Census Bureau’s 2018
Residence Criteria, which Plaintiffs are currently defending in other litigation and touting here. See
Section III.E, supra; Pls.’ Br. at 31–32. As with every census, the Census Bureau always planned to
exclude some people from the 2020 Census without a “usual residence” in a particular State. See Final
2020 Census Residence Criteria and Residence Situations, 83 Fed. Reg. 5525, 5526 (Feb. 8, 2018).




                                                    41
gives her report to the President”). To the contrary, “§ 2a does not curtail the President’s authority

to direct the Secretary in making policy judgments that result in ‘the decennial census.’” Id.16 And

that is exactly what the President has done here: direct the Secretary to report two sets of numbers, of

which the President will choose one to plug into the “method of equal proportions. See 2 U.S.C.

§ 2a(a); 85 Fed. Reg. at 44,680.

        Plaintiffs’ position is incompatible with the Supreme Court’s view of the President’s role as

more than “merely ceremonial or ministerial.” Compare Pls.’ Br. 32, 36–37 with Franklin, 505 U.S. at

789.   “[I]t is the President’s personal transmittal of the report to Congress” that “settles the

apportionment” of Representatives, making the President “important to the integrity of the process.”

Franklin, 505 U.S. at 799–800. Plaintiffs’ attempt to reduce the President to mere statistician cannot

be squared with the Supreme Court’s holding that § 2a contemplates his exercise of substantial

discretion.17

        Plaintiffs also seek to contravene Supreme Court precedent (and 230 years of history) by

arguing that the numbers used for apportionment must be derived solely from individual responses


16
   Other courts since Franklin have likewise understood that § 2a allows the President to perform a
significant role beyond the mere “ministerial” calculation leading to reapportionment. See Flue-Cured
Tobacco Coop. Stabilization Corp. v. EPA, 313 F.3d 852, 860 (4th Cir. 2002) (likening an EPA report to
the Secretary’s § 141(b) report because it “is advisory and does not trigger the mandatory creation of
legal rules, rights, or responsibilities,” allowing the President “to embrace or disregard” the Secretary’s
report); Pub. Citizen v. U.S. Trade Representative, 5 F.3d 549, 552 (D.C. Cir. 1993) (characterizing the
Commerce Secretary’s report to the President a “moving target” because “the President has statutory
discretion to exercise supervisory power over the agency’s action); Alabama v. Dep’t of Commerce, 396 F.
Supp. 3d 1044, 1055 (N.D. Ala. 2019) (noting that in fulfilling his responsibilities under § 2a, “the
President is not necessarily bound to follow the Secretary’s tabulation”).
17
   Plaintiffs also seem to suggest that that the Memorandum is unlawful merely because the President
has directed the Secretary to provide information about illegal aliens. See, e.g., Pls.’ Br. 29, 38. But that
contention also fails. Article II empowers the President to supervise the conduct of subordinate
officials like the Secretary, see U.S. Const., art. 2, § 1, and the Opinions Clause further empowers the
President to “require the Opinion, in writing, of the principal Officer in each of the executive
Departments, upon any Subject relating to the Duties of their respective Offices,” id., art. 2, § 2, cl. 2.
In Franklin, even the dissenting Justices acknowledged that § 2a “does not purport to limit the
President’s ‘accustomed supervisory powers’ over the Secretary of Commerce.” 505 U.S. at 813 n.11
(Stevens, J., dissenting). So Plaintiffs cannot preclude the President from obtaining information from
the Secretary, nor the Secretary from providing it.



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to the census questionnaire. See Pls.’ Br. at 33–36. But the census has never tallied the total number of

“usual residents” based only on questionnaire responses. In fact, for the first 170 years of American

census taking, no census questionnaire existed because all enumeration was done in person. See New

York v. Dep’t of Commerce, 351 F. Supp. 3d 502, 520 (S.D.N.Y.) (Furman, J.), aff’d in part, rev’d in part and

remanded, 139 S. Ct. 2551 (2019). And for the 2020 Census, individuals have been, and will be,

enumerated through (1) census-questionnaire responses online, by mail, or by phone; (2) in-person

visits by enumerators; (3) “proxy” responses given by those such as a neighbor or landlord; (4) high-

quality administrative records from other federal agencies; and, as a last resort, (5) filling gaps in

enumeration data by imputing other data from the same area. Id. at 521. In the citizenship-question

litigation, Plaintiffs elicited extensive testimony on each of those enumeration methods, but never

suggested that any of them violated the Census Act. See generally id. at 572–626. Indeed, the Supreme

Court has specifically approved the use of purported “non-census data”—like administrative records and

imputation—in apportionment without remotely hinting that either one was unlawful. Compare Pls.’

Br. at 35–36 (taking issue with the hypothetical use of administrative records from other federal

agencies) with Franklin, 505 U.S. at 794–96, 803–06 (approving the Census Bureau’s use of “home of

record” information from Defense Department personnel files for apportionment) and Utah v. Evans,

536 U.S. 452, 457–59, 473–79 (2002) (approving the Census Bureau’s use of “hot-deck imputation”

for apportionment).
        In any event, it is entirely premature for Plaintiffs to surmise that “the President will necessarily

have to rely on information that is not contained within the census” if he is going to exclude some as-

yet-unknown number of illegal aliens from apportionment. Pls.’ Br. at 35. As discussed above, it is

not yet known what numbers the Secretary will transmit to the President pursuant to the Presidential

Memorandum. See supra at 8. And Plaintiffs cannot assume that those numbers will be derived from

purported “non-census data.”.

        Put simply, Plaintiffs’ attempt to manufacture an ultra vires or separation-of-powers claim

detached from their Apportionment Clause claim is unavailing. By delegation of the Census Act, the
Executive stands in the shoes of Congress and may properly exclude individuals from apportionment



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for lack of “usual residence”—just as he has done in every other apportionment calculated under the

Census Act.

        F.      Plaintiffs’ Demands for Relief Against the President Must Be Dismissed

        Plaintiffs ask this court to enjoin the President from implementing the policy in the

Presidential Memorandum, to issue a writ of mandamus to that effect, and to declare his policy

decision unlawful. See Gov’t Pls.’ Am. Compl. at 45 (Prayer for Relief ¶¶ 1-4, 7); NGO Pls.’ Am.

Compl. at 88 (Request for Relief ¶¶ (i)-(iv), (vi), (vii)). As the Supreme Court has long recognized,

however, federal courts cannot exercise injunctive authority over the President’s discretionary policy

judgments. See Mississippi v. Johnson, 4 Wall 475, 501 (1867) (the judicial branch has “no jurisdiction of

a bill to enjoin the President in the performance of his official duties”). This limitation reflects the

respect due to the President’s “unique position in the constitutional scheme.” See Nixon v. Fitzgerald,

457 U.S. 731, 748 n.27, 749-50 (1982) (declining to assume that implied damages “cause[s] of action

run[] against the President”). In Franklin, the Supreme Court reaffirmed this constitutional principle.

See 505 U.S. at 802 (noting that “grant of injunctive relief against the President [] is extraordinary, and

should have raised judicial eyebrows”).      Plaintiffs may contend that their injunctive claims fit within

a narrow exception that the Supreme Court potentially left open for injunctive claims that seek to

direct the President to perform “ministerial” functions. See Franklin, 505 U.S. at 802-03 (noting that

Mississippi v. Johnson “left open the question whether the President might be subject to a judicial
injunction requiring the performance of a purely ‘ministerial’ duty”); see also Mississippi v. Johnson, 4 Wall

at 500 (defining “ministerial duty” as “one in respect to which nothing is left to discretion”).

        Franklin, however, forecloses that argument in this case. Specifically, the Supreme Court

recognized that under 2 U.S.C. § 2a, “the Secretary [of Commerce] cannot act alone”; instead, the

President has the “authority to direct the Secretary in making policy judgments.” Franklin, 505 U.S.

at 799-800. This “clear[ly]” demonstrates Congress’s belief that “it was important to involve a

constitutional officer,” i.e., the President, “in the apportionment process.” Id. at 799. The President’s

role and “duties” in the congressional apportionment process, therefore, “are not merely ceremonial
or ministerial.” Id. at 800.



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        Put simply, even if Franklin and Mississippi v. Johnson could be read to allow injunctive claims

seeking performance of purely ministerial functions, that possible exception has no application here—

because the President’s implementation of the Presidential Memorandum is part of his duties under 2

U.S.C. § 2a, which “are not merely ceremonial or ministerial.” Instead, Franklin applies squarely to

Plaintiffs’ injunctive claims against the President, and requires the dismissal of those claims. 505 U.S.

at 802-03.

        Moreover, and at a minimum, even if injunctive relief against the President in the performance

of his statutory duties were theoretically available, Franklin makes clear that it “would require an

express statement by Congress” authorizing such relief. Franklin, 505 U.S. at 801. Plaintiffs have

identified no such “express statement” and none exists.

        Finally, although declaratory relief claims against the President may be viable under existing

Second Circuit law, see Knight First Amendment Inst. v. Trump, 928 F.3d 226 (2d Cir. 2018), other courts

have questioned the appropriateness of such claims. For example, the D.C. Circuit, following Franklin,

has determined, “declaratory relief” against the President for his non-ministerial conduct “is

unavailable.” Newdow v, Roberts, 603 F.3d 1002, 1012–13 (D.C. Cir. 2010). This is because “a court—

whether via injunctive or declaratory relief—does not sit in judgment of a President’s executive

decisions.” Id. at 1012 (emphasis added) (citing Mississippi, 71 U.S. at 499); see also Doe 2 v. Trump, 319

F. Supp. 3d 539, 541 (D.D.C. 2018) (“Sound separation-of-power principles counsel the Court against
granting [injunctive and declaratory] relief against the President directly.”).           Thus, “similar

considerations regarding a court’s power to issue [injunctive] relief against the President himself apply

to [a] request for a declaratory judgment.” Swan v. Clinton, 100 F.3d at 973, 978 (D.C. Cir. 1996).

IV.     PLAINTIFFS ARE NOT ENTITLED TO A PRELIMINARY OR PERMANENT
        INJUNCTION
        If the Court declines to dismiss Plaintiffs’ claims, it should nonetheless deny Plaintiffs’ request

for the extraordinary relief of a permanent or preliminary injunction.

        Although Plaintiffs seek partial summary judgment on their Apportionment Clause and ultra
vires claims, they do not specify what remedy they wish to accompany that judgment. Presumably,




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however, Plaintiffs would have this Court enter, at minimum, a permanent injunction prohibiting

Defendants “from excluding undocumented immigrants from the apportionment base following the

2020 Census, or taking any action to implement or further such a policy.” NY FAC at 45, ¶ 4; see

NGO FAC at 88, ¶¶ 3-4. Unlike the motion-to-dismiss context in which Plaintiffs’ well-pleaded

allegations are accepted as true, Chamberlain Estate of Chamberlain v. City of White Plains, 960 F.3d 100,

105 (2d Cir. 2020), the “extraordinary remedy” of an injunction “may only be awarded upon a clear

showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22

(2008); City of Newburgh v. Sarna, 690 F. Supp. 2d 136, 169 (S.D.N.Y. 2010) (contrasting the standing

inquiry on a motion to dismiss with the “heavy burden of clearly establishing the ‘actual and imminent’

threat of irreparable harm” for an injunction). To obtain permanent injunctive relief, Plaintiffs bear

the burden of demonstrating (1) that they have suffered an irreparable injury; (2) that remedies

available at law, such as monetary damages, are inadequate to compensate for that injury; (3) that,

considering the balance of hardships between the parties, a remedy in equity is warranted; and (4) that

the public interest would not be disserved by a permanent injunction.” eBay Inc. v. MercExchange,

L.L.C., 547 U.S. 388, 391 (2006).

        While Plaintiffs appear to understand that these factors are required to obtain a preliminary

injunction, Pls.’ Br. at 40, they fail to acknowledge that these same factors must be met to obtain

permanent relief as well. Insofar as Plaintiffs believe they are entitled to any form of injunctive relief
without satisfying other factors, they are incorrect. Winter, 555 U.S. at 32 (“An injunction is a matter

of equitable discretion; it does not follow from success on the merits as a matter of course.”); Amoco

Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 546 n.12 (1987) (“The standard for a preliminary injunction

is essentially the same as for a permanent injunction with the exception that the plaintiff must show a

likelihood of success on the merits rather than actual success.”); Patsy’s Italian Rest., Inc. v. Banas, 658

F.3d 254, 272 (2d2011); Roach v. Morse, 440 F.3d 53, 56 (2d Cir. 2006). As explained above, Plaintiffs’

Apportionment Clause and ultra vires claims lack merit and their request for partial summary judgment

and an injunction should be rejected for that reason alone. Winter, 555 U.S. at 32–33. Even if these




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claims were meritorious, however, Plaintiffs could not satisfy the remaining factors, so they would not

be entitled to either preliminary or permanent injunctive relief.

         A.      Plaintiffs Cannot Establish Any Imminent and Irreparable Harm

         Most significantly, Plaintiffs fail to establish that they are “likely to suffer irreparable harm in

the absence of preliminary relief.” Winter, 555 U.S. at 20; see also Mazurek v. Armstrong, 520 U.S. 968,

972 (1997) (“[A] preliminary injunction is an extraordinary and drastic remedy, one that should not be

granted unless the movant, by a clear showing, carries the burden of persuasion.” (internal quotes and

citations omitted; emphasis in original)). To establish a likelihood of irreparable harm, a plaintiff

“must demonstrate that absent a preliminary injunction they will suffer an injury that is neither remote

nor speculative, but actual and imminent, and one that cannot be remedied if a court waits until the

end of trial to resolve the harm.” Grand River Enter. Six Nations, Ltd. v. Pryor, 481 F.3d 60, 66 (2d Cir.

2007) (internal quotation marks omitted). Because a preliminary injunction “is one of the most drastic

tools in the arsenal of judicial remedies,” id., Plaintiffs’ burden to show irreparable harm is necessarily

higher than what is required to establish standing. See, e.g., Mazurek, 520 U.S. at 972. Here, Plaintiffs

fail this test at every step—and further fail to establish that the remaining injunction factors tilt in their

favor.
                         1.       Plaintiffs Cannot Establish Any Irreparable Apportionment
                                  Injury
         Because Plaintiffs rushed to Court before the Secretary has implemented the Memorandum—
and before any census enumeration has even been completed—Plaintiffs cannot show any imminent

threat of apportionment injury.

         As detailed above, it is currently unknown what numbers the Secretary may ultimately transmit

to the President. See supra at 8; Abowd Decl. ¶ 15. Plaintiffs’ expert declarations posit only that the

wholesale exclusion of illegal aliens may cause certain states to lose a Congressional seat. See Pls.’ Br. at

49–50; see generally Warshaw Decl.          But those experts do not—and cannot—predict what

apportionment injury any state might suffer from some hypothetical smaller exclusion, assuming a

state suffers any injury at all. Given that the Secretary of Commerce has not yet transmitted his report
to the President, and the President has not yet transmitted any numbers to Congress, any effort to



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predict the ultimate effect of the Memorandum on apportionment, or the resulting “political power

of Plaintiffs’ constituents,” Pls.’ Br. at 41, is entirely speculative.

        More fundamentally, any purported apportionment injury that Plaintiffs could suffer is, as a

legal matter, not irreparable. The Supreme Court has regularly decided census cases that, like this one,

contest the relative apportionment of representatives post-apportionment, because an erroneous or

invalid apportionment number can be remedied after the fact.18 See, e.g., Utah, 536 U.S. at 462 (holding

that post-apportionment redress is possible if the apportionment calculation contains an error); see also

Franklin, 505 U.S. at 803 (finding that a post-apportionment order against the Secretary would provide

redress for plaintiffs); Dep’t of Commerce v. Montana, 503 U.S. 445-46 (1992); Wisconsin v. City of New York,

517 U.S. 1 (1996). Indeed, in Wisconsin, it was not until six years after the 1990 census that the Court

resolved an apportionment dispute based on those results. This case is not different. As this Court

noted in requesting the appointment of a three-judge panel pursuant to 28 U.S.C. § 2284, “the

Presidential Memorandum does not purport to change the conduct of the census itself[;] [i]nstead, it

relates the calculation of the apportionment base used to determine the number of representatives to

which each state is entitled.” ECF 68 at 2. Accordingly, this Court could order adequate relief after

apportionment when any injury to Plaintiffs is known with certainty, assuming there is any at all.

Indeed, the very fact that the Memorandum calls for the Secretary to report two numbers—one

arrived at after the Census Bureau applies its Residency Criteria, and another reflecting the number of
illegal aliens that the Secretary is able to identify—makes clear that a post-apportionment remedy

would be easy to craft.




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  The only census cases decided by the Supreme Court pre-apportionment involved challenges to the
mechanics of conducting the census, which could not be undone post-apportionment. See Dep’t of
Commerce v. New York, 139 S. Ct. 2551 (2019) (challenge to a citizenship question on the 2020 Census);
Dep’t of Commerce v. U.S. House of Representatives, 525 U.S. 316 (1999) (challenge to the use of statistical
sampling in the census).




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                        2.      Plaintiffs’ Allegations of Enumeration Injury Do Not Withstand
                                Scrutiny
        Plaintiffs’ alternative efforts to link the Memorandum to some ongoing enumeration injury

fare no better. As explained by Associate Director Fontenot, the Memorandum does not affect how

the Census Bureau is conducting its remaining enumeration operations. See Fontenot Decl. ¶¶ 7, 12;

see generally Census Bureau, Review of 2020 Operational Plan Schedule, Aug. 17, 2020,

https://2020census.gov/content/dam/2020census/materials/news/2020-operational-plan-

schedule-review.pdf (“Operational Plan”) Those operations include a variety of protocols specifically

designed over the course of the past decade to ensure that hard-to-count and minority communities—

some of the core constituencies for which Plaintiffs advocate—are accurately reflected in the census.

See generally Fontenot Decl. ¶¶ 11, 12; Operational Plan at 2-11 (describing non-response follow-up,

and other efforts to achieve “acceptable level of accuracy and completeness, with a goal of resolving

at least 99% of Housing Units in every state, comparable with previous censuses”).19 Plaintiffs

speculate that, notwithstanding these protocols, the Memorandum “and Defendants’ corresponding

public statements” will render the enumeration less accurate—purportedly by deterring immigrant

communities from participating. Pls. Br. at 42, 47. But these claims suffer from at least three

fundamental flaws, each of which seriously undermines the causation Plaintiffs are trying to establish.

                a.      Plaintiff’s Theory of Harm Relies on Attenuated Events Involving the
                        Independent Actions of Third-Parties
        First, as discussed in the standing section, Plaintiffs’ theory for why the Memorandum may

depress response rates relies on a highly attenuated chain of events. Plaintiffs’ expert, Dr. Barreto,

opines that immigrant communities are less likely to respond to the census after the Memorandum

because of how that Memorandum is discussed in the media and by community activists. Barreto

Decl. ¶¶ 15-16, 32.      But those independent actors’ messages are the product of their own


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   See also 2020 Census Detailed Operational Plan for: 18. Nonresponse Followup Operation (NRFU), Apr. 16,
2018,          https://www2.census.gov/programs-surveys/decennial/2020/program-management/
planning-docs/NRFU-detailed-operational-plan.pdf; see also 2020 Census Research and Testing
Management         Plan,        Dec.        28,         2015,       https://www2.census.gov/programs-
surveys/decennial/2020/program-management/planning-docs/research-testing-plan.pdf, at 7.




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interpretation, and often at odds with the plain terms of the Memorandum. See, e.g., Torres Decl.

¶ 18., ECF No. 76.47 (stating that CASA de Maryland, Inc. “was approached by a number of media

outlets, including CNN, to represent the reaction of our community . . . [and] conveyed how harmful

the action is and our commitment to ensuring that our members are fully counted.”); Barreto Decl.

¶ 33 (listing media messages characterizing the Memorandum as something “intended to promote

fear”); id. ¶ 46 (noting that aliens “may not do the full research to realize they can still fill out the

Census safely, because they hear the news which is connecting the July 21 [Memorandum] to Trump’s

longstanding desire to increase deportation of undocumented immigrants” (emphasis added)). It

makes little sense to attribute whatever harm is caused by those independent actors’ messaging to the

Memorandum itself, particularly if their messages convey the incorrect impression that the

Memorandum increases the “risk of [individuals’] information being linked to immigration records

and [those individuals] facing immigration enforcement.” Barreto Decl. ¶¶ 62, Pls. Br. at 43 (citing

various declarations speculating that the Memorandum is likely to create fear of immigration

enforcement). Given the strong privacy protections for census response data, any suggestion that the

Secretary’s compliance with the Memorandum will somehow facilitate immigration enforcement is

flatly wrong. See generally 13 U.S.C. § 9 (providing that personal information collected by the Census

Bureau cannot be used against respondents by any government agency or court); id. § 214 (setting

forth penalty for wrongful disclosure of information).
                        b. Plaintiffs’ Theory of Harm Is Limitless

        Second, setting aside the role of independent actors, Plaintiffs’ theory of harm proves too much.

Plaintiffs’ core claim is that the Memorandum will depress aliens’ participation in the census by

allegedly “send[ing] a clear message that this community does not count and should be left out of the

democratic process.” Pls. Br. at 42; see, e.g., Barreto Decl. ¶ 14; Choi Decl. ¶¶ 16-18 (Ex. 14); Torres

Decl. ¶ 19 (Ex. 47). But the same line of reasoning could apply to almost any government action or

statement that Plaintiffs find disagreeable. As Plaintiffs themselves acknowledged during the initial

status conference with the Court, their theory would recognize harm sufficient for standing (and
presumably for a preliminary injunction) based on a President’s mere statements suggesting that he is



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exploring new legislation that would permit the Census Bureau to share data with immigration

enforcement agencies. See, e.g., Conference Tr. 34:13–35:6. That makes little sense.

        The transmission of a general policy message—like the kind Plaintiffs claim the Memorandum

sends—cannot suffice to show that irreparable harm is imminent or likely. Winter, 555 U.S. at 12, 20.

The Supreme Court has repeatedly rejected efforts to conjure irreparable injury from a hypothetical

series of events that could theoretically cause a plaintiff injury. See, e.g., Los Angeles v. Lyons, 461 U.S.

95, 103 (1983); Rizzo v. Goode, 423 U.S. 362, 372–73 (1976). Indeed, it has explicitly noted that

allegations of “fear[]” of future harm must be assessed for reasonableness: “[i]t is the reality of the

threat of” future harm that is relevant, “not the plaintiff’s subjective apprehensions.” Lyons, 461 U.S.

at 107 n.8 (emphasis added). Where, as here, fear is based on a series of conjectures and subjective

misinterpretations—tethered not to something the government has actually done, but to some

different policy the government might (or might not) pursue in the future—such fear cannot form the

basis for irreparable harm. See id. at 107. Merely harboring an objection to the President’s expression

of a policy preference falls far short of the standard for injunctive relief.

                           c. The Alleged Harm is at Odds with Existing Evidence

        Third, and finally, Plaintiffs’ claims that the Memorandum is likely to decrease response rates

is simply inconsistent with empirical evidence. Plaintiffs go to great lengths to analogize the

Memorandum to a citizenship question on a census questionnaire. See, e.g., Pls. Br. at 42; Barreto Decl.
¶¶ 14, 18, 24, 28, 57, 68, 86. But, as noted above, a randomized control trial published by the Census

Bureau after the Supreme Court issued its opinion in the citizenship question litigation found no

statistically-significant depression of response rates for households that received a test questionnaire

containing a citizenship question. See Abowd Decl. ¶ 13; see also 2019 Census Test Report, Census Bureau

(Jan.     3,      2020),       https://www2.census.gov/programs-surveys/decennial/2020/program-

management/census-tests/2019/2019-census-test-report.pdf (Census Test Report). As explained by

Dr. Abowd, this test contained a sample of 480,000 housing units, and was “capable of detecting

response differences as small as 0.5 percentage points.” See Abowd Decl.¶ 13. And while some narrow
subgroups did exhibit statistically-significant lower self-response rates, Census Test Report at x, the



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Census Bureau concluded that “[c]urrent plans for staffing for Nonresponse Followup would have

sufficiently accounted for subgroup differences seen in this test.” Id. This result was contrary to the

prediction of experts who previously testified during the citizenship-question litigation, and some of

whose declarations Plaintiffs again submit now. See generally Abowd Decl. ¶ 13; see, e.g., Barreto Decl.

¶ 68. As Dr. Abowd reports, this finding illustrates the benefit of a “randomized controlled design,”

which properly isolates the independent variable (there, the citizenship question) and measures its

effects. Abowd Decl. ¶ 13.

        Plaintiffs cannot reasonably contend that the Memorandum would have a greater effect on

response rates than did the citizenship question. Unlike a question on a census questionnaire, the

Memorandum does not call for respondents to submit any information, and it changes nothing about

the enumeration process. See 85 Fed. Reg. at 44,679 (directing the Secretary to make use of existing

information). Indeed, neither Dr. Barreto nor any other declarant proffered by Plaintiffs identifies a

rigorous survey or statistical study measuring whether this kind of internal Government action, which

seeks nothing of respondents and has no connection to immigration enforcement, has any effect on

response rates within immigrant communities. See generally Barreto Decl. ¶¶ 39-86. And nothing

Plaintiffs submit purports to statistically measure the effect of the Memorandum itself on response

rates. See generally Barreto Decl. ¶¶ 39-86; Thompson Decl. ¶¶ 21–23 (offering an opinion about the

effect of the Memorandum without relying on a source of data).
        Under these circumstances, Plaintiffs cannot be said to establish anything more than the

abstract “possibility of irreparable injury.” Nken, 556 U.S. at 434. But, as the Supreme Court has

emphasized, the “‘possibility’ standard is too lenient” a basis upon which to issue the drastic remedy

of a preliminary injunction. Winter, 555 U.S. at 22. Given that irreparable harm “is the single most

important prerequisite for the issuance of a preliminary injunction,” Faiveley Transport. Malmo AB v.

Wabtec Corp., 559 F.3d 110, 118 (2d Cir. 2009), Plaintiffs’ failure to establish anything more than the

theoretical possibility of harm is sufficient basis to deny the injunction they seek.




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        B.      The Remaining Factors Weigh Against an Injunction

        On the other side of the ledger, the harm to the government and to the public interest from

an injunction would be great, and immediate. See Nken, 556 U.S. at 435 (explaining that harm to

opposing party and weighing the public interest “merge” when relief is sought against the

government). In particular, an injunction would impede the Executive’s historic discretion in

conducting both the census and the apportionment, contrary to Congressional intent. See generally

Franklin, 505 U.S. at 796-800. Plaintiffs discount these interests, arguing that the Government cannot

have an interest in enforcing “an unconstitutional law,” Pls. Br. at 51, but that argument only holds if

Plaintiffs are correct on the merits of their argument—which, as explained above, they are not.

        In any event, Plaintiffs’ conception of the balance and hardship and public interest collapses

those two parts of the traditional four-part injunction test into the very first prong: merits. As the

Supreme Court has emphasized, however, that should not be done. See Winter, 555 U.S. at 32. The

public interest prong is a stand-alone requirement that must be met separately, and cannot be short-

circuited at plaintiffs’ whim. Id.

        Plaintiffs vaguely suggest that enjoining the Memorandum would allegedly remedy

“Defendants’ misinformation.” Pls. Br. 52. But the only misinformation Plaintiffs have identified in

this case is the misinterpretation of the Memorandum by the various activists and news sources that

their expert, Dr. Barreto, and their other declarants describe in their declarations. See Barreto Decl.
¶¶ 66-69 (Ex. 56); Choi Decl. ¶ 24-25 (Ex. 14); Seon Decl. ¶ 22 (Ex. 43); Torres Decl. ¶ 24 (Ex. 47).

Plaintiffs have never identified one piece of “misinformation” that the Defendants disseminated about

the Memorandum. Any attempt to remedy misinformation would therefore require an injunction

against some other entity. The public interest may favor that injunction, but it does not favor an

injunction against Defendants here.




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                                         CONCLUSION


       For the foregoing reasons, the Court should grant Defendants’ motion to dismiss and dismiss

these consolidated actions. In the event the Court declines to grant Defendants’ motion to dismiss,

Plaintiffs’ motion for partial summary judgment or preliminary injunction should be denied.

Dated: New York, New York

August 19, 2020

                                                     Respectfully submitted,

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